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February 4, 2021

Honorable Brendan L. Shannon
U.S. Bankruptcy Judge
824 Market Street
Wilmington, DE 19801

         Re: In re BC Hospitality Group, et al. (No. 20-13103 (BLS))

Dear Judge Shannon:

       I submit this letter on Chloe’s behalf to outline the parties’ dispute over the By
Chloe trademark and the best path forward for resolution.

I.       Chloe disputes BCHG’s purported unconditional ownership in the By Chloe
         trademark.

       Following Chloe’s growing fame as a celebrity chef, Chloe and ESquared
Hospitality formed CCSW LLC (now incorrectly called BCHG) to run Chloe’s
concept for fast-casual vegan restaurants. Over nine months of extensive negotiations,
the parties finalized two foundational documents relevant to this dispute: (1) a 50-page
Operating Agreement setting forth membership terms for Chef Chloe LLC and
ESquared Hospitality LLC; and (2) a Name, Face, Likeness License Agreement (the
NFL Agreement) between CCSW and Chloe. Exs. A-B. Chloe objects to BCHG’s
purported ownership of the By Chloe trademark under these agreements for two core
reasons.

     1. The plain language in the Operating Agreement makes any ownership of the
        By Chloe trademark conditional.

       The unambiguous terms of the Operating Agreement provide that BCHG never
had unconditional ownership of the By Chloe trademark. Paragraph 4.4 details six
subparts that address the By Chloe trademark. The preamble starts with the guiding
principle that the Operating Agreement does not bestow any rights to Chloe’s NFL
Rights, except as provided in the agreement and the NFL Agreement.

        Paragraph 4.4(a) provides in full: “The Company shall own all right, title and
interest in and to the By Chloe Mark, including the right to register the By Chloe Mark
with the U.S. Patent & Trademark Office, subject to the terms and conditions of this
Operating Agreement and the NFL License Agreement.” The first dispute for the Court
focuses on this italicized language. Chloe will explain that the unambiguous



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interpretation of “subject to”—or at least a reasonable interpretation—is “conditional
or dependent on.” Put differently, the parties intended the Company to own the By
Chloe Mark—a standard corporate practice for administrative reasons—conditioned
on the Company complying with the terms and conditions the parties agreed to.
BCHG, in contrast, contends that it owns the By Chloe Mark outright—without
conditions—which would render the italicized clause and other terms and conditions
in the agreements meaningless.

         The rest of Paragraph 4.4 about the mark confirms Chloe’s interpretation. One
term and condition that the Company’s ownership depended on, for instance, was its
obligation in Paragraph 4.4(e) not to use the By Chloe Mark to block Chloe from
obtaining trademark rights of her own. Another term and condition of any ownership
in the By Chloe Mark was that the Company would only use the mark for fast-casual
vegan restaurants—and not, for example, for retail products—unless Chloe approved
otherwise in writing. The parties negotiated and bargained for these terms and
conditions, and Chloe did not and would not have agreed for the company to have
rights to use her name in the brand without them.

       Nor is this an academic exercise for this Court. BCHG breached these terms
and conditions. BCHG used the By Chloe Mark to oppose Chloe’s trademark
applications for “Chef Chloe” and “Chloe’s Delicious.” And it sold retail products
with the By Chloe Mark at Whole Foods without Chloe’s consent. Through its breach
of these unambiguous terms and conditions, it lost ownership rights in the By Chloe
Mark. Thus, Chloe objects to BCHG’s plans to sell the trademark in this proceeding.

    2. The Company also does not own the By Chloe Mark because it incorporates
       a NFL Right that is subject to the now-terminated NFL Agreement.

        BCHG’s plan to sell the By Chloe Mark fails for a second independent reason.
The question for the Court is whether the use of Chloe’s name in the mark is subject to
the “name, face, likeness” agreement. Of course it is. First, the plain language of 4.4(a)
states that ownership is “subject to” the “NFL License Agreement.” If the mark did
not implicate the NFL rights, then it makes no sense to condition ownership on that
agreement. Second, the NFL agreement itself licenses Chloe’s name, including all
variations of her name, which By Chloe uses in the mark. Third, the interplay between
the Operating Agreement and NFL Agreement is key. Chef Chloe LLC, as a
corporate entity, is a party to the Operating Agreement, while Chloe as an individual
is a party to the NFL Agreement. The only vehicle for Chloe to provide her individual
rights in her name was through the NFL Agreement. The Operating Agreement
confirms this conclusion in Paragraph 4.3(d). Unlike ESquared Hospitality which
“hereby licenses” (a present assignment) in 4.3(c), Chef Chloe and Chloe “shall enter
into the NFL License Agreement” (a future assignment) in 4.4(d) to grant use of,
among other things, Chloe’s “name.” Put differently, the By Chloe Mark is subject to
the NFL Agreement precisely because that mark is a NFL right.




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        Yet Chloe retained the ability to terminate the NFL right. And she exercised
that termination right in March 2018. Even more, the NFL Agreement provides for
survival of some terms following termination. The portion of the NFL Agreement in
Section 1 relating to the By Chloe Mark is not one of those surviving provisions. At
minimum, a reasonable interpretation—if not the only reasonable interpretation—is
that BCHG lost ownership in the mark when Chloe terminated the NFL Agreement.
Parol evidence only enhances this conclusion too. Chloe was promised before—and
after—entering into these agreements that she would “immediately” receive a 1%
royalty under Paragraph 10 if the company repurchased her membership interest,
recognizing use of the By Chloe mark was a NFL right. The parties never intended
that BCHG could use her name while she had no membership or royalty interest.

        BCHG’s reliance on Judge Furman’s preliminary injunction decision is not to
the contrary. That decision addressed a different issue under different circumstances.
Chloe’s preliminary injunction motion did not ask Judge Furman to decide ownership
of the By Chloe mark. Rather, Chloe asked the Court to enjoin BCHG from selling
retail products. Judge Furman addressed both the Operating Agreement and the NFL
Agreement. Under the Operating Agreement, the Court proceeded under the status
quo, accepting BCHG’s mistaken contention that the company repurchased Chef
Chloe’s membership interest. Judge Furman explained it was unclear whether the fast-
casual vegan restaurant limitation was a “surviving right.” Since that decision,
however, Judge Hochberg declared BCHG’s purported repurchase of Chef Chloe’s
membership interests “null and void” along with any attempts to amend the Operating
Agreement without her consent. And Judge Furman, of course, has confirmed Judge
Hochberg’s liability finding. Thus, the entire foundation for the preliminary injunction
has changed.

       The Court also considered the NFL Agreement separately. There, Judge
Furman did conclude at the preliminary stage that the By Chloe Mark was not a NFL
right and that BCHG owned the mark “outright.” Yet he made this preliminary
decision on an incomplete record and without the context of the arguments above.
Again, Chloe briefed a different issue, and the Court held no oral argument. Indeed, if
BCHG believed Judge Furman resolved this issue, then it should have consented to
Chloe’s stay relief motion for Judge Furman to reaffirm it. The basic fact remains that
Chloe deserves to be heard and she deserves to have a court—any court—decide the
merits of her challenge to BCHG’s ownership of a trademark with her name.

II. This Court should resolve this dispute on a full record at the February 25
    hearing.

         The most efficient process forward is for the Court to hear from each side in
full in briefing and at the February 25 hearing. To start, BCHG chose this expedited
proceeding with full knowledge that Chloe contested its ownership of the By Chloe
Mark. A consequence of picking this forum and schedule is that the parties need to
address issues on an expedited basis. Chloe is prepared to do so. Indeed, Chloe
withdrew her motion for stay relief based on BCHG’s complaints that Judge Furman



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may not decide the issue quickly enough, and with the understanding that this Court
would do so.

        The Court is well suited to address this issue efficiently too. To start, courts—as
opposed to juries—often consider all evidence while limiting their decisions to what is
relevant. Put another way, if the Court decides the contracts are unambiguous, then
your Honor will say so and not rely on any parol evidence. Yet the burden to hear the
parties in full is minimal, and perhaps even unnecessary following briefing. The Court
should allow each side up to 1.5 hours to present any evidence (through direct or cross
examination). That, along with oral argument from counsel, means the Court can
complete the hearing in 4-5 hours. Along with the inherent value in a decision on a
full record, this will also avoid any delay in the current sale date.

        BCHG’s bankruptcy counsel’s desire for discovery is unwarranted. The parties
have litigated these issues to death. From 2016 through present, the parties have
litigated two arbitrations, an appeal in New York state courts, and a 19-count
complaint with 7 BCHG counterclaims in the Southern District of New York. Every
signatory to the Operating Agreement and the NFL Agreement has been deposed,
including through BCHG’s deposition of Chloe for two full days. The parties have
collectively produced over 289,000 documents that cover all relevant parol evidence.
The most recent arbitration involved disputes about interpreting the Operating
Agreement, and Judge Hochberg found portions ambiguous. The parties are beyond
prepared to address this dispute now.

         Nor is BCHG correct that the ownership issue was not part of the SDNY
litigation. BCHG submitted a 50-page declaration with exhibits from the attorney who
drafted the Operating Agreement and NFL Agreement with a Rule 12 motion relating
to the By Chloe trademark and NFL Agreement. Chloe submitted a declaration and
attached exhibits in the litigation as well. And Chloe’s complaint bases her claims for
breach of contract and rights of publicity on BCHG’s misuse of the “By Chloe Mark.”
BCHG’s defense was that it owned the mark. Likewise, Chloe pled that BCHG lacked
ownership as an affirmative defense to BCHG’s counterclaims: “BCHG has breached
the terms and conditions of the Operating Agreement and NFL License Agreement,
and therefore lacks ownership and standing to assert the By Chloe Mark.”

         I look forward to addressing these issues with the Court tomorrow.


                                                Respectfully submitted,

                                                /s/ Patrick M. Arenz

                                                Patrick M. Arenz




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              OPERATING AGREEMENT

                          OF

                       CCSWLLC

     (A NEW YORK LIMITED LIABILITY COMPANY)
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                                           CCSWLLC


       THIS LIMITED LIABILITY COMPANY OPERATING AGREEMENT (the
"Agreement"), effective as ofNovember 7, 2014 (the "Effective Date"), ofCCSW LLC, a New
York limited liability company (the "Company"), is entered into by and among ESquared
Hospitality LLC, a Delaware limited liability company having an address at 950 Third Avenue,
Suite 2300, New York, NY 10022 ("ESguared Hospitality"), and Chef Chloe, LLC, a
California limited liability company with an address at 4 712 Admiralty Way, Marina Del Rey, CA
90292 ("CC Entity").

                                       WITNESSETH

       WHEREAS, the Company was formed on November 6, 2014 pursuant to the provisions of
the Act by the filing of the Articles of Organization of the Company (said Articles, as the same
may be amended, restated, supplemented or modified from time to time, the "Articles of
Organization") with the Secretary of State of the State of New York;

        WHEREAS, the Members desire to set forth the Members' agreement for the conduct of
the business and operation of the Company.

       NOW, THEREFORE, in consideration of the premises and the mutual agreements
contained herein and other good and valuable consideration, the parties hereto set forth their
agreement as follows:

                                          ARTICLE I
                                         DEFINITIONS

    Section 1.1       Definitions. For purposes of this Agreement, capitalized terms used but not
otherwise defined herein shall have the following meanings:

        "Act" means the New York Limited Liability Company Law, as amended from time to
time.

       "Adjusted Capital Account" means, with respect to any Member, the balance in such
Member's Capital Account as of the end of the relevant Fiscal Year, after giving effect to the
following adjustments:

       (a)    such Capital Account shall be deemed to be increased by any amounts that such
Member is obligated to restore to the Company (pursuant to this Agreement or otherwise) or is
deemed to be obligated to restore pursuant to (A) the penultimate sentence of§ l.704-2(g)(l) of
the Regulations, or (B) the penultimate sentence of§ 1. 704-2(i)(5) of the Regulations; and

       (b)     such Capital Account shall be deemed to be decreased by the items described in
paragraphs (4), (5) and (6) of §1.704-l(b)(2)(ii)(d) of the Regulations and shall be interpreted and
applied consistently therewith.
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       The foregoing definition of Adjusted Capital Account is intended to comply with the
provisions of§ 1.704-1 (b)(2)(ii)(d) of the Regulations and shall be interpreted and applied
consistently therewith.

        "Affdiate" means, with respect to any Person, (a) any Person who is a member of the
Immediate Family of any individual, (b) any entity which owns or controls (i.e., which owns
directly or indirectly 50% or more of the beneficial interest in or otherwise has the right or power
by any means to control), is owned or controlled by or which is under common ownership or
control with a Person, and (c) any individual who is an officer, director, trustee, member, manager,
or employee of, or partner in, a Person referred to in the preceding clause (b).

       "Agreement" shall have the meaning ascribed to such term in the preamble.

       "Approved Financing Arrangements" means (a) debt or equity financing arrangements
under terms that are approved by CC Entity (or its Permitted Transferee) and (b) debt or equity
financing arrangements under terms that are no less favorable to the CC Entity (or its Permitted
Transferee), on the whole, than previously approved financing arrangements. Without limiting the
foregoing, CC Entity hereby approves financing arrangements for Restaurants whereby the
available cash of the restaurants is split 50/50 between the Company and the investors (after the
investors have been paid back their capital contributions and a preferred return of no more than
10% calculated on a simple, straight line, non-compounding basis); provided, that if ESquared
Hospitality or any of its Affiliates are providing twenty five percent (25%) or more of the
financing, CC Entity does not hereby approve any preferred return for such arrangement.

       "Approved Proiects" shall have the meaning ascribed to such term in Section 4.1.

      "Articles of Organization" means the Articles of Organization of the Company, as
amended, modified and/or restated from time to time.

        "Available Cash" means, for any fiscal quarter, all cash receipts of the Company during
such quarter from any source (excluding funds received as Capital Contributions or proceeds of
loans), plus all undistributed Available Cash from previous fiscal quarters, less the sum of the
following to the extent made from such cash receipts:

        (a)     all cash expenditures of the Company made during such quarter (except
Distributions), including debt service, salaries, repayment of advances, and other expenses and
costs incurred in the acquisition, ownership, or management of the Company's business and
property; and

        (b)     funds set aside as reserves allocated for contingencies, working capital, debt
service, taxes, insurance, approved investments or acquisitions (if any), mandatory distributions
(including Tax Distributions) or other anticipated costs or expenses incident to the conduct of the
Company's business.

       "Available Interest" shall have the meaning ascribed to such term in Section 19.6.

       "Back Office Fee" shall have the meaning ascribed to such term in Section 19.8.


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        "Book Value" means, with respect to any asset of the Company, the adjusted basis of such
asset as of the relevant date for federal income tax purposes, except as follows:

        (a)   the initial Book Value of any asset contributed by a Member to the Company shall
be the Fair Market Value of such asset;

       (b)    the Book Values of all Company assets (including intangible assets such as
goodwill) may be adjusted to equal their respective Fair Market Values as of the following times as
determined by the Managers in their sole discretion:

              ( 1)   the acquisition of an additional interest in the Company by any new or
existing Member in exchange for more than a de minimis Capital Contribution or contribution of
more than a de minimis amount of property;

             (2)    the distribution by the Company to a Member of more than a de minimis
amount of money or Company property as consideration for its interest in the Company; and

               (3)     the liquidation of the Company within the meaning of
§l.704-l(b)(2)(iv)(f)(5)(ii) of the Regulations and taking into account §1.704-1 (b)(2)(iv)(l) of the
Regulations.

        (c)     if the Book Value of an asset has been determined or adjusted pursuant to
subsection (a) or (b) above, such Book Value shall thereafter be adjusted by the Depreciation taken
into account with respect to such asset for purpose of computing Net Profits and Net Losses and
other items allocated pursuant to Article XII hereof.

      The foregoing definition of Book Value is intended to comply with the provisions of
§1.704-l(b)(2)(iv) of the Regulations and shall be interpreted and applied consistently therewith.

       "Breach Notice" means, with respect to a breach of the Service Member's obligations
pursuant to Section 19.2 of this Agreement, a notice provided by the Company to the Service
Member in writing within 90 days after the Company first learns of the alleged breach that sets out
with specificity the basis for such breach and reasonable requirements that, when satisfied, would
be deemed to cure such breach, if curable.

        "Business" shall have the meaning ascribed to such term in Section 4.1.

       "Business Day" means any day other than Saturday, Sunday and any other day on which
banks in New York City are not open for business.

        "By Chloe Design Mark" means any logo or other design mark incorporating the By
Chloe Word Mark in stylized font and/or color and/or design that is pre-approved by the CC
Entity, and used in connection with the goods and services of the Business.

        "By Chloe Mark" means, collectively, the By Chloe Design Mark and the By Chloe Word
Mark.

        "By Chloe Word Mark" means the standard character mark "BY CHLOE" in connection

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with the goods and services of the Business.

     "Capital Account" means the capital account established and maintained for each
Member pw-suant to Article XI hereof.

     "Capital Contributions" means the cash contributions by a Member to the capital of the
Company pw-suant to Sections 6.1 and 6.2 hereof.

        "Cause" means the Service Member's (a) willful and intentional refusal to perform its
responsibilities relating to the Business assigned by the Company pursuant to Section 19.2 of this
Agreement, which continues more than thirty (30) days after the notification of such breach
pursuant to a Breach Notice (it being understood and agreed that if the reasonable requirements set
forth in the Breach Notice are reasonably satisfied, then such Breach Notice shall be of no force or
effect); (b) engaging in gross negligence or fraud in connection with the Business; (c) a material
breach of the confidentiality obligations set forth in Section 8.1 hereof; (d) theft, embezzlement, or
attempted theft, embezzlement, perpetration of fraud, or misappropriation of any tangible or
intangible assets or property of the Company or any of its Affiliates; and/or (e) a conviction of, or
a plea of nolo contendre or guilty to a felony or crime involving moral turpitude.

          "CC" means Chloe Coscarelli.

          "CC Entity" shall have the meaning ascribed to such term in the preamble.

          "CC Entity Pre-Existing IP" shall have the meaning ascribed to such term in Section
4.3(b).

        "CC Existing Recipes" means those recipes that are included in the CC Entity
Pre-Existing IP and that are the basis for any Company Modified Recipes. The initial Members
acknowledge that, in connection with the development of the Concept and commercializing of
recipes, the CC Existing Recipes have been modified into Company Modified Recipes. If there are
any CC Existing Recipes that do not get modified into Company Modified Recipes, the Members
shall create and attach a schedule of such recipes and attach the same hereto as
Exhibit E (which exhibit may be modified by the Members from time to time as appropriate).

        "CC Permitted Activities" shall have the meaning ascribed to such term in Section
19.2(a).

        "CC Promotional Activities" shall have the meaning ascribed to such term in Section
19.2(a).

       "Code" means the Internal Revenue Code of 1986, as amended, or any corresponding
provisions of superseding federal revenue statute.

          "Companies" shall have the meaning ascribed to such term in Section 8.l(a).

          "Company" shall have the meaning ascribed to such term in the preamble.

          "Company Assets" means all right, title and interest of the Company in and to all or any

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portion of its assets.

        "Company IP" means (i) the Concept (which includes menus and Company Recipes);
and(ii) all other intellectual property rights associated with the Concept and Business including
without limitation all discoveries or inventions (whether or not patentable and whether or not
reduced to practice), created or developed by or on behalf of the Business, and improvements of
whatever kind thereon; any and all trademarks, service marks, trade dress, product names, Internet
domain names, logos and trade names used by or in connection with the Business, including the By
Chloe Mark, and all goodwill associated therewith; works of authorship, drawings, designs,
recipes, websites, interfaces, applications, software, and copyrightable works developed by or on
behalf of the Business; trade secrets and confidential information, know-how and product
processes used in connection with the Business; all applications and registrations for all the
foregoing and renewals or extensions thereof; all embodiments of each of the foregoing (in
whatever form and media); and all claims or causes of action arising out of or related to
infringement or misappropriation of the foregoing ..

         "Company Minimum Gain" means the aggregate amount of gain (of whatever character),
determined for each Nonrecourse Liability of the Company, that would be realized by the
Company if it disposed of the Company property subject to such liability in a taxable transaction in
full satisfaction thereof (and for no other consideration) and by aggregating the amounts so
computed, determined in accordance with §l.704-2(d) and (k) of the Regulations.

        "Company Minimum Gain Chargeback" shall have the meaning ascribed to such term
in Section 12.3(a)(iii).

        "Company Modified Recipes" means recipes resulting from any modification of any kind
of any CC Existing Recipes that have been so modified (once or more than once for any particular
recipe) and used in connection with the Business; provided, however, that for the avoidance of
doubt the Company Modified Recipes shall not include the unmodified CC Existing Recipes.

         "Company Recipes" means the aggregate of (a) the Company Modified Recipes, and (b)
all of the food and beverage recipes developed by or on behalf of the Company for use in
connection with the Business.

          "Concept" means a "fast casual" vegan restaurant.

          "Confidential Information" shall have the meaning ascribed to such term in Section
8.l(a).

      "Default Rate" means an interest rate equal to the greater of (a) ten (10%) percent per
annum and (b) the WSJ Rate.

        "Depreciation" means, for each Fiscal Year or part thereof, an amount equal to the
depreciation, amortization or other cost recovery deduction allowable for federal income tax
purposes with respect to an asset for such Fiscal Year or part thereof, except that if the Book Value
of an asset differs from its adjusted basis for federal income tax purposes at the beginning of such
Fiscal Year, the depreciation, amortization or other cost recovery deduction for such Fiscal Year or

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part thereof shall be an amount which bears the same ratio to such Book Value as the federal
income tax depreciation, amortization or other cost recovery deduction for such Fiscal Year or part
thereof bears to such adjusted tax basis and provided further that if the federal income tax basis of
such asset is zero (0) or less, then the depreciation, amortization or other cost recovery deduction
shall be whatever the Managers determine is reasonable under the circumstances.

       "Disability" means any medically determinable physical or mental impairment that makes
such Person unable to perform his/her/its duties that has been continuing for a period of 180 or
more days, whether or not consecutive, within any period of 12 consecutive months.

          "Dissolution" means the happening of any of the events set forth in Section 16.1.

         "Distribution" means any cash and the Fair Market Value of any property (net of
liabilities secured by such property that the Member is deemed to assume or take subject to under
Section 752 of the Code) distributed by the Company to the Members in accordance with Article
XIII or XVII of this Agreement.

          "Drag-Along Notice" shall have the meaning ascribed to such term in Section 18.4(a).

          "Drag-Along Right" shall have the meaning ascribed to such term in Section 18.4(a).

          "Dragging Member" shall have the meaning ascribed to such term in Section 18.4(a).

         "Economic Interest" means a Person's share of the Company's income, gain, loss,
deductions, credits and similar items and distributions of the Company pursuant to this Agreement
and the Act, but shall not include any other rights of a Member, including, without limitation, the
right to vote or participate in the management, or except to the extent mandatory and not subject to
waiver under the Act, any right to information concerning the business and affairs of the Company.

        "Effective Tax Rate" means the highest cumulative net federal, state and city income tax
that would be paid on incremental income earned by and allocated to a hypothetical New York
City resident as a an owner of the Company.

        "ESguared Hospitality Liquidity Event" means a sale, financing, public offering or
other change of control transaction involving ESquared Hospitality (or its parent entity) and/or no
less than a majority of the restaurants that ESquared Hospitality and its Affiliates have an
ownership and/or management interest in.

          "ESguared Pre-Existing IP" shall have the meaning ascribed to such term in Section
4.3(b).

        "Fair Market Value" means, with respect to any property (including the Membership
Interests), the value that would be obtained in an arm's length transaction for ownership of such
property for cash between an informed and willing seller and an informed and willing purchaser,
each with an adequate understanding of the facts and under no compulsion to buy or sell. When
determining the Fair Market Value of the Company, it shall be valued based on the entire value of
the enterprise and no discounts or premiums shall be taken into consideration for lack of control or
control.

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         "Family Trust" means, with respect to any individual, a trust for the benefit of such
individual or for the benefit of any member of such individual's Immediate Family (for the
purpose of determining whether or not a trust is a Family Trust, the fact that one or more of the
beneficiaries (but not the sole beneficiary) of the trust includes a Person or Persons, other than a
member of such individual's Immediate Family, entitled to a distribution after the death of the
settlor if he, she, it, or they shall have survived the settlor of such trust, which distribution is to be
made of something other than a Membership Interest and/or includes an organization or
organizations exempt from federal income tax pursuant to the provision of Section SOl(a) of the
Code and described in Section 501(c)(3) of the Code shall be disregarded); provided, however,
that in respect of transfers by way of a testamentary or inter vivos trust, the trustee or trustees shall
be solely such individual, a member or members of such individual's Immediate Family, a
responsible financial institution, an attorney that is a member of the Bar of any State in the United
States, or an individual or individuals approved by the Members, other than the interested
Member.

       "Fiscal Year" means the fiscal and taxable year of the Company, which shall be the year
ending December 31st.

         "Good Reason" means (i) any material breach by ESquared Hospitality of its obligations
set forth in Section 19.8 hereof; (ii) any action by the Company or ESquared Hospitality which
results in a material diminution in Service Member's title or position from those set forth in this
Agreement other than for Cause; or (iii) a requirement by the Company that Service Member
engage in any act, or that Service Member not act, where such act or omission, as applicable,
would be illegal or would be reasonably likely to be materially damaging or detrimental to Service
Member's reputation; provided, however, that in the case of subsections (i)- (iii) it shall be a
prerequisite of any such termination for Good Reason that Service Member shall have given
ESquared Hospitality written notice, specifying the circumstances of such Good Reason, and
thirty (30) calendar days to cure prior to any such termination (or such longer period as is
reasonably required to cure such breach with diligent and good faith effort). For the sake of
clarity, the parties agree that neither (a) a termination of the Personal Services Agreement nor (b) a
removal under Section 19.3 shall, in and of itself, be grounds for termination for Good Reason
under clause (ii) above.

       "Immediate Family" means, with respect to an individual, (a) such individual's spouse
(former or current), (b) such individual's parents and grandparents, (c) such individual's children
and grandchildren (in each case, natural or adoptive, of the whole or half blood), (d) such
individual's sons-in-law and daughters-in-law (in each case, former or current), (e) any other
ascendants and descendants (natural or adoptive, of the whole or half blood) of such individual's
parent or of the parents of such individual's spouse (former or current), and (f) any lineal
descendants (natural or adoptive) of such individual's spouse.

        "Indemnification Obligation" shall have the meaning ascribed to such term in Section
14.1.

        "Indemnified Party" shall have the meaning ascribed to such term in Section 14.1.

        "Liquidation" means the process of winding up and terminating the Company after its

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Dissolution.

       "Maior Decisions" shall have the meaning ascribed to such term in Section 7.4.

       "Managers" means each Person appointed to the position of Manager pursuant to Section
7.3.

       "Member" means any Person who or which is bound by and all of whom are identified on
Exhibit A annexed hereto this Agreement and who or which is admitted to the Company as a
Member in accordance with the terms of this Agreement.

        "Member Minimum Gain" means the aggregate amount of gain (of whatever character),
determined for each Member Nonrecourse Debt, that would be realized by the Company if it
disposed of the Company property subject to such Member Nonrecourse Debt in a taxable
transaction in full satisfaction thereof (and for no other consideration), determined in accordance
with the provisions of §1.704-2(i)(3) and (k) of the Regulations for determining a Member's share
of minimum gain attributable to a Member Nonrecourse Debt.

       "Member Minimum Gain Chargeback" shall have the meaning set forth in Section
12.3(a)(iv).

       "Member Nonrecourse Debt" has the meaning ascribed to the term "partner non-recourse
debt" specified in§ 1.704-2(b)(4) of the Regulations.

       "Membership Interest" means, with respect to each Member, the entirety of the interest
of the Member in the Company, including all of the Economic Interest in the Company held by
such Member and such Member's rights to vote and participate in the management of the
Company, and to receive allocations ofNet Profits, Net Losses and Distributions.

        "Net Profit".and "Net Losses" means an amount equal to the Company's taxable income
or loss for such fiscal year or other period, determined in accordance with Section 703(a) of the
Code (but including in taxable income or loss, for this purpose, all items of income, gain, loss or
deduction required to be stated separately pursuant to Section 703(a)(l) of the Code), with the
following adjustments, without duplication:

        (a)    any income of the Company exempt from federal income tax and not otherwise
taken into account in computing Net Profits or Net Losses pursuant to this definition shall be added
to such taxable income or loss;

        (b)    any expenditures of the Company described in Section 705(a)(2)(B) of the Code (or
treated as expenditures described in Regulation Section 705(a)(2)(B) of the Code pursuant to
Treasury Regulations Section 1.704-l(b)(2)(iv)(i)) and not otherwise taken into account in
computing Net Profits or Net Losses pursuant to this definition shall be subtracted from such
taxable income or loss, including deductions for any losses incurred in connection with the sale or
exchange of Company Assets disallowed pursuant to Sections 267(a)(l) of the Code or 707(b)
which shall be treated as expenditures described in §705(a)(2)(B) of the Code;

       (c)     in the event the Book Value of any Company Asset is adjusted, the amount of such

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adjustments shall be taken into account as gain or loss from the disposition of property for
purposes of computing Net Profits or Net Losses;

         (d)    gain or loss resulting from any disposition of any Company Asset with respect to
which gain or loss is recognized for federal income tax purposes (or is deemed recognized
pursuant to subsection (c) above) shall be computed by reference to the Book Value of the
Company Asset disposed of, notwithstanding that the adjusted basis of such Company Assets
differs from its Book Value;

       (e)      in lieu of depreciation, amortization and other cost recovery deductions taken into
account in computing such taxable income or loss, there shall be taken into account Depreciation
for such fiscal year or other period; and

        (f)    items specifically allocated to the Members pursuant to Section 12.3 hereof shall
not be taken into account in computing Net Profits or Net Losses.

       "NFL License Agreement" means the Name, Face and Likeness License Agreement by
and between CC, CC Entity and the Company, dated as of the date hereof, as such agreement may
be amended from time to time.

      "NFL Rights" means the rights granted to the Company under the NFL License
Agreement.

     "Nonrecourse Liability" means any Company liability (or portion thereof) for which no
Member bears the economic risk of loss for such liability under §1.752-2 of the Regulations.

       "Offer Notice" shall have the meaning ascribed to such term in Section 18.3(a).

       "Offer Period" shall have the meaning ascribed to such term in Section 18.3(a).

       "Participating Holder" shall have the meaning ascribed to such term in Section 18.5(a).

       "Percentage Interest" shall have the meaning set forth in Section 6.5(a) hereof subject to
adjustment pursuant to this Agreement. The Percentage Interest of any transferee shall be such
portion of the Percentage Interest of the transferor as is indicated in the instrument of transfer and
the Percentage Interest of the transferor shall be thereafter appropriately adjusted.

       "Permitted Transfer" shall have the meaning ascribed to such term in Section 18.2.

       "Permitted Transferee" shall have the meaning ascribed to such term in Section 18.2.

       "Person" means an individual, corporation, limited liability company, partnership, trust or
unincorporated organization, or other entity.

      "Personal Services Agreement" means the Personal Services Agreement by and between
the Company and CC, dated as of the date hereof, as such agreement may be amended from time to
time.


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       "Position" shall have the meaning ascribed to such term in Section 19.1.

        "Regulations" means the Treasury Regulations (including temporary or proposed
regulations) promulgated and in effect under the Code, as amended from time to time (including
corresponding provisions of succeeding regulations).

       "Regulatory Allocations" shall have the meaning ascribed to such term in Section
12.3(a)(vi).

       ''Repurchase Right" has the meaning set forth in Section 19.5

       "Response Notice" shall have the meaning ascribed to such term in Section 18.3(a).

       "Restaurants" shall have the meaning ascribed to such term in Section 4.1.

       "Restricted Period" shall have the meaning ascribed to such term in Section 19.7(a).

       "Restricted Person" shall have the meaning ascribed to such term in Sections 8.1.

       "§704(b} Regulations" shall have the meaning ascribed to such term in Section 11.1.

       "Selling Member" shall have the meaning ascribed to such term in Section 18.5(a).

       "Selling Member Notice" shall have the meaning ascribed to such term in Section 18.5(a).

       "Service Member" shall have the meaning ascribed to such term in Section 19.1.

       "Super Maiority of the Members" shall mean Members owning at least seventy five
percent (75%) of the outstanding Membership Interests in the Company.

       "Surviving Rights" shall have the meaning ascribed to such term in Section 19.3(c).

       "Tag Along Period" shall have the meaning ascribed to such term in Section 18.5(a).

       "Tax Distribution" shall have the meaning ascribed to such term in Section 13.4.

       "Tax Matters Partner" shall have the meaning ascribed to such term in Section I0.5(a).

        "Termination Event" means, with respect to the Service Member, the occurrence of such
Member's death, insanity, adjudication of incompetency, Disability, or any event that, absent
provisions to the contrary in this Agreement or otherwise, would terminate the continued
membership of such Person in the Company or Service Member by operation oflaw. For purposes
of this paragraph, the occurrence of CC's death, insanity, adjudication of incompetency or
Disability shall be considered a Termination Event of CC Entity (or a successor).

       "Testers" shall have the meaning ascribed to such term in Section 8.1 (b).

       "Transfer" shall have the meaning ascribed to such term in Section 18.1.


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        "Unreturned Capital Contribution" means, with respect to a Member, as of any date, the
excess, if any, of:

       (a)      the sum of such Member's Capital Contributions actually made to the Company as
of such date; less

       (b)     the cumulative distributions to such Member pursuant to, or by reference to
Sections 13.1 and 13.4.

       "Withholding Advance" shall have the meaning ascribed to such term in Section 13 .2(b).

        "WSJ Rate" means, on any particular date, a rate per annum equal to the rate of interest
published in The Wall Street Journal as the "prime rate," as in effect on such day; provided,
however, that if more than one prime rate is published in The Wall Street Journal for a day, the
average of the prime rates shall be used; provided, further, however, that the prime rate (or the
average of the prime rates) will be rounded up to the nearest 1/16 of I% or, if there is no nearest
1/16 of I%, to the next higher 1/16 of I%. In the event that The Wall Street Journal ceases or
temporarily interrupts publication (or publication of a "prime rate"), then the WSJ Rate shall mean
the daily average prime rate published in another business newspaper, or business section of a
newspaper, of national standing chosen by the unanimous consent of the Managers. lfThe Wall
Street Journal resumes publication, the substitute index will immediately be replaced by the prime
rate published in The Wall Street Journal.

        All other capitalized terms used herein and not otherwise defined herein shall have the
meanings assigned thereto in the Act. To the extent that a term specifically defined in this Section
1.1 conflicts with a definition provided in the Act, the specific definition set forth herein shall
govern.

                                           ARTICLE II
                                          FORMATION

    Section 2.1        Formation. The Company was formed on November 6, 2014, by the filing
of the Articles of Organization with the Secretary of State of the State of New York pursuant to the
Act and on behalf of the Members of the Company.

   Section 2.2       Name. The name of the Company is CCSW LLC. The business of the
Company shall be conducted under such name or such other trade or fictitious names as may be
adopted in accordance with Section 2.3.

     Section 2.3       Trade Name Affidavits. The Company shall file such trade name or
fictitious name affidavits and other certificates as may be necessary or desirable in connection with
the formation, existence and operation of the Company (including those filings required in any
jurisdiction where the Company owns property).

    Section 2.4        Foreign Qualification. The Company shall apply for authority to transact
business in those jurisdictions where it is required to do so. The Company shall file such other
certificates and instruments as may be necessary or desirable in connection with its formation,

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existence and operation.

    Section 2.5         Tenn. The term of the Company commenced on its date of formation and
shall continue until dissolved, wound up and terminated in accordance with Article XVI and
Article XVII of this Agreement.

    Section 2.6        No State Law Partnership. The Members intend that the Company not be a
partnership (including, without limitation, a limited partnership or a general partnership) or joint
venture, and that no Member be an agent, partner or joint venturer of any other Member, for any
purposes other than federal and state tax purposes, and this Agreement shall not be construed to
suggest otherwise.

                                             ARTICLE III
                                              OFFICES

    Section 3 .1       Registered Office; Place of Business; Registered Agent. Except as
otherwise determined by the Managers, the registered office in the State of New York is: 950
Third Avenue, New York, NY 10022, and the registered agent is James Haber. The Company
shall maintain an office and principal place of business at 950 Third Avenue, New York, NY
10022, or at such other place as may from time to time be determined as its principal place of
business by the Managers.

   Section 3.2         Other Offices. The Company may also have offices at other places, either
within or without the State of New York as the Managers may from time to time determine in
accordance with the terms of this Agreement or as the business of the Company may require.

                                          ARTICLE IV
                                     BUSINESS AND POWERS

    Section 4.1         Business. The business ("Business") of the Company shall be to engage,
whether directly or through one or more Affiliates or subsidiaries, in the ownership and/or
management and/or licensing and/or franchising of one or more restaurants utilizing the Concept
(the "Restaurants") and Approved Projects. As used herein, the term ''Approved Proiects"
means any project related to the food and beverage industry that utilizes one or more of the NFL
Rights or the By Chloe Mark, and which has been pre-approved in writing by CC Entity. In
connection with Approved Projects, the provisions of any sublicense relating to the use and
protection of the NFL Rights shall be subject to the approval of CC Entity, such consent not to be
unreasonably withheld, conditioned or delayed. In furtherance of the foregoing, Company shall
submit to CC Entity in writing any project for which it wishes to seek the CC Entity's approval, and
CC Entity shall endeavor to review and either approve or disapprove of such project within ten
(10) business days. If the CC Entity fails to timely respond, Company may send a second approval
request with the following language included: "FAILURE TO RESPOND WITHIN FIVE (5)
BUSINESS DAYS SHALL BE TREATED AS YOUR APPROVAL OF THE PROJECT." Any
such submission that has not been timely disapproved by within such five-business day period
shall be deemed approved.


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    Section 4.2         Powers. The Company shall have all the powers permitted to a limited
liability company under the Act and which are necessary, convenient or advisable in order for it to
conduct its business. The Company shall maintain and preserve its existence and all rights and
franchises material to its businesses and shall be, at all times, validly existing and in good standing
in the State ofNew York.

    Section 4.3         Ownership of Concept and Intellectual Property Rights; NFL License.

       (a)        The Company shall be deemed the owner of the Company IP.

        (b)     The Company IP shall not include (i) any intellectual property rights that were
developed by or on behalf of ESquared Hospitality or any of its Affiliates prior to the Effective
Date, or independently from CC, CC Entity or its Affiliates, all of which are proprietary to
ESquared Hospitality or any of its Affiliates, and shall remain the property of ESquared
Hospitality or its Affiliates ("ESguared Pre-Existing IP") and (ii) any intellectual property rights
that were developed by or on behalf of CC, CC Entity or any of its Affiliates prior to the Effective
Date, or independently from ESquared Hospitality or its Affiliates, all of which are proprietary to
CC, CC Entity or its Affiliates, and shall remain the property of CC, CC Entity or its Affiliates
("CC Entity Pre-Existing IP"). Notwithstanding the foregoing, Company IP may include
derivatives ofESquared Pre-Existing IP or CC Entity Pre-Existing IP.

        (c)    ESquared Hospitality hereby licenses to the Company the non-exclusive,
irrevocable, royalty-free, worldwide right to use the are described on Exhibit B-1 attached hereto
solely in connection with the operations of the Restaurants and Approved Projects. CC Entity
hereby licenses to the Company the non-exclusive, irrevocable, royalty-free, worldwide right to
use the CC Entity Pre-Existing IP described on Exhibit B-2 attached hereto solely in connection
with the operations of the Restaurants and Approved Projects.

        (d)    Simultaneously with the execution of this Agreement, CC, CC Entity and the
Company shall enter into the NFL License Agreement pursuant to which CC and CC Entity shall
grant the Company the right to use CC's name, face, likeness, and other attributes of her persona
for use in connection with the Business as set forth in the NFL License Agreement.

          (e)     Unless otherwise agreed to by the unanimous consent of the Members, exploitation
of the Concept shall be done only through the Company. "Exploitation of the Concept" includes
owning, managing, licensing, consulting with and/or franchising Restaurants (as owner, manager,
licensor, consultant or franchisor, respectively) and engaging in the Approved Projects. Nothing
in this paragraph prohibits the Company or its subsidiaries from licensing or sublicensing the
Concept, the NFL Rights, the Company IP, ESquared Pre-Existing IP and CC Entity Pre-Existing
IP to third parties on terms acceptable to the Managers in connection with Restaurants and
Approved Projects provided that 100% of the economics of such transactions flow to the
Company, except (i) as specifically set forth herein, (ii) as set forth in the NFL License Agreement,
(iii) as set forth in an Approved Financing, (iv) as agreed by CC Entity in connection with an
Approved Project or (v) if unanimously agreed to by the Members.

       Section 4.4  By Chloe Mark. The parties acknowledge and agree that the By Chloe
Mark incorporates CC' s first name, and that nothing contained in this Agreement is intended to

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bestow upon the Company any rights to CC's NFL Rights (as defined in the NFL License
Agreement), except as permitted herein and the NFL License Agreement. In furtherance of the
foregoing, and notwithstanding anything contained in this Agreement or in the NFL License
Agreement the contrary, the parties agree as follows:

         (a)    The Company shall own all right, title and interest in and to the By Chloe Mark,
including the right to register the By Chloe Mark with the U.S. Patent & Trademark Office, subject
to the terms and conditions of this Operating Agreement and the NFL License Agreement;

        (b)      The Company's rights to the By Chloe Word mark is limited solely to the exact
lettering of the By Chloe Word Mark and not to any similar or derivative mark;

        (c)     Except as permitted under Section 19.7(a)(ii), CC and CC Entity shall not use or
permit others to use the By Chloe Word Mark or a design mark confusingly similar to the design
elements of the By Chloe Design Mark, except (i) in connection with the Business, and (ii) in
connection with any future cookbooks published by or on behalf of CC or the CC Entity~rovided
that the look, feel and placement of any such use of the By Chloe Mark in connection with any
such cookbook shall be subject to the Company's prior written approval, such approval not to be
unreasonably withheld or delayed. Notwithstanding the forgoing, CC and CC Entity shall not use
or permit others to use a name or mark that includes the By Chloe Mark for a restaurant without the
approval of the Company. Company and ESquared Hospitality may take any action it deems
reasonably necessary to protect the By Chloe Mark if the Company or ESquared Hospitality
determine in good faith that CC or CC Entity has violated this Section 4.4(c).

       (d)      The parties agree that CC, CC Entity and Permitted Transferees can use any
"Chloe" designation other than the By Chloe Word Mark or By Chloe Design Mark in any way
except (i) as restricted by Section 19.7 hereof; (ii) in connection with Restaurants and Approved
Projects; and (iii) as set forth in Section 4.4(c) above.

        (e)     In furtherance of the foregoing and except as permitted under Section 4.4(c), the
Company and ESquared Hospitality on behalf of itself and its Permitted Transferees, hereby
agrees that they will not oppose, petition to cancel, commence a legal action, or otherwise
challenge, object to or interfere with CC or CC Entity's ownership, use (or authorized the use by
others) or registration of any "Chloe" designation other than the By Chloe Mark=

        (f)     If Company ceases all use of the By Chloe Mark for a period of one year
(commencing on or after the date of the opening of the first Restaurant), then the Company shall
assign the By Chloe Mark to CC Entity or CC, as directed by CC, and the Company hereby agrees
to execute any and all documents and take any other reasonable action requested by CC to
effectuate the assignment contemplated by this Section 4.4(e).



                                        ARTICLEV
                                 INTERESTS IN THE COMPANY

   Section 5 1        General Rights. Membership Interests shall not have a stated value or any

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rights to Distributions unless the Managers, pursuant to the terms hereof, have declared such a
Distribution out of funds legally available therefor.

     Section 5.2         Membership Interests. The interest of each Member in the profits and
losses and in the right, if any, to vote and participate in the management of the Company shall be as
set forth in this Agreement, including in the definition of Membership Interests as set forth in
Article I hereto.

                                      ARTICLE VI
                            CAPITAL CONTRIBUTIONS; MEMBERS

    Section 6.1       Capital Contributions; Advances.    The Members have made the initial
Capital Contributions to the Company in cash in the amounts as set forth on Exhibit A annexed
hereto.

   Section 6.2         Additional Capital Contributions/Loans.

      (a)     Except as provided below in paragraph (b), no Member shall be required to make
any Capital Contributions other than the initial Capital Contributions set forth on Exhibit A.

         (b)    ESquared Hospitality has agreed to fund through Capital Contributions (a) the
initial development of the Concept, (b) the testing and modification of the recipes, as appropriate,
(c) the design of a model restaurant (but not the build-out thereof), (d) the Personal Services
Agreement (until such time as it can be funded out of Company funds) and (e) miscellaneous costs
in connection thereof approved by the Managers. Although it may choose to, ESquared
Hospitality has not agreed to finance the opening or operation of an actual Restaurant. Such
financing may be provided by third parties, by ESquared Hospitality or by an Affiliate of
ESquared Hospitality or any combination thereof. If ESquared Hospitality or an Affiliate thereof
participates in such financing, such financing shall be solely in accordance with an Approved
Financing Arrangement.

                  (c) If the Managers reasonably determine that the Company is in need of
           additional funds, the Managers may, from time to time or at any time, cause the
           Company to borrow funds from banks or similar financial institutions, or from
           Members, with interest and on such terms and conditions as Managers deem acceptable
           in Managers' sole and absolute discretion, and to grant a mortgage or other lien on the
           Company's property as security for the loan. The Managers need not offer the
           opportunity to all Members of the Company to participate in making loans to the
           Company.

   Section 6.3        Withdrawal of Capital. Except as specifically provided in this Agreement,
no Member shall be entitled to withdraw all, or any part of, such Member's Capital Contribution or
Capital Account from the Company prior to the Company's Dissolution and Liquidation. When
such withdrawal is permitted, no Member shall be entitled to demand a Distribution of property
other than money.


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   Section 6.4       No Interest on Capital. No Member shall be entitled to receive interest on
such Member's Capital Account or any Capital Contribution, except as otherwise provided
specifically herein.

   Section 6.5         Admission of Members.

       (a)     Members. The initial Members of the Company are listed on Exhibit A hereto, each
of which has executed this Agreement as of the date hereof and is hereby admitted to the Company
as a Member. Each such Member holds a share of all Membership Interests (the "Percentage
Interest") equal to the percentage set forth in Exhibit A.

        (b)     Subsequent Members. The Managers may, from time to time, subject to any other
approvals as may be required herein, admit one or more additional Persons as new Members. The
conditions to and procedures for admission of any such new Member shall be as determined by the
Managers. Effective upon such admission, the Percentage Interests of the then current Members
shall be diluted pro rata in proportion to their respective Percentage Interests.

        (c)    Transferees. Upon the Transfer (other than any pledge or hypothecation) of any
Membership Interest(s) to any Person who is not a Member, and the approval, if required, in
accordance with Article XVIII hereof, such Person shall be admitted to the Company as a Member,
provided such Person shall execute and deliver or cause to be executed and delivered such
documentation (including, if requested, an opinion of counsel) as the Managers shall reasonably
request, including but not limited to execution of a substitute signature page to this Agreement.

    Section 6.6       Capital Return. Any Member who has received the return of all or any part
of such Member's Capital Contribution pursuant to any Distribution that has been wrongfully or
erroneously made to such Person in violation of the Act, the Articles of Organization or this
Agreement shall be required to return such Distribution to the Company if notice of an obligation
to return such amount is given to such Member within three (3) years of the date of such return or
Distribution.

    Section 6. 7        Outside Activities. Each Member and any Person who is an Affiliate of a
Member may engage or hold interests in other business ventures of every kind and description for
the Member's or the Affiliate's own account, including, but not limited to, other restaurants, bars,
hotels, or other similar businesses, within or outside of New York, except that the Service Member
(and CC) shall be subject to the restrictions set forth in Sections 19.2 and 19.7.

                                          ARTICLE VII
                                         MANAGEMENT

   Section 7.1         General Powers.

       (a)     Except as otherwise provided in this Agreement or mandated by the Act, the
Members (other than any Member acting in its capacity as a Manager, in the event a Member is
appointed as a Manager) shall take no part whatsoever in the control, management direction or
operation of the affairs of the Company and shall have no power to act for or bind the Company.

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        (b)    Except as expressly provided herein or under the Act, the Managers shall have sole,
full and complete charge of all operations of the Company and the management of the Company's
business as described in Section 4.1.

        (c)     The Managers shall be "managers" within the meaning of the Act. Except as
otherwise set forth in this Agreement, the Managers shall have power and authority, on behalf of
the Company, to take any and all lawful acts that the Managers consider necessary, advisable, or in
the best interests of the Company in connection with the day to day operations and business of the
Company, as well as any transaction outside the ordinary course of business, including, without
limitation, to:

              (i)     open, maintain and close bank accounts (including cash equivalent
       accounts), establish company credit cards, draw checks or other orders for the payment of
       moneys on behalf of the Company;

               (ii)   expend the capital and revenues of the Company in furtherance of the
       Company's Business as described in Section 4.1 hereof and pay, in accordance with the
       provisions of this Agreement, all expenses, debts, and obligations of the Company to the
       extent that funds of the Company are available therefor;

               (iii)   make investments in interest bearing securities, including United States
       government securities, securities of governmental agencies, commercial papers, money
       market funds, bankers' acceptances, certificates of deposit and other investment-grade
       securities (excluding cash equivalent accounts), pending disbursement of the Company's
       funds in furtherance of the Company's Business as described in Section 4.1 hereof or to
       provide a source from which to meet contingencies;

               (iv)    maintain, at the expense of the Company, adequate records and accounts of
       all operations and expenditures of the Company and the Company property and furnish the
       Members with the reports referred to in Section 10.1 hereof;

              (v)    purchase, at the expense of the Company, liability, casualty, fire and other
       insurance and bonds to protect the Company's property, business, Members and
       employees and to protect the Managers and their employees;

               (vi)    establish reasonable reserves for repairs, replacements and contingencies,
       for future capital needs for any investment (including repayment of any indebtedness of the
       Company) and for any other proper Company purpose;

              (vii) employ, at the expense of the Company, consultants, accountants, attorneys
       and others, and terminate such employment;

               (viii) open banking and credit facilities with banks and other financial institutions
       for any Company purpose including, but not limited to, a credit facility to provide the
       Company with working capital, construction loans, permanent financing and to otherwise

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       borrow money, to issue, accept, endorse and execute promissory notes, drafts, bills of
       exchange, warrants, bonds, debentures and other negotiable or non-negotiable instruments
       and evidences of indebtedness in connection therewith and to secure the same by a
       mortgage, deed of trust, pledge or other lien on any asset of the Company;

              (ix)  bring and defend actions and proceedings at law or equity before any court
       or governmental, administrative or other regulatory agency, body or commission or
       otherwise;

              (x)     delegate its responsibilities and obligations hereunder, where reasonably
       appropriate and for reasonable compensation;

              (xi)   perform commercially reasonable acts to protect individual assets of the
       Members or the principal of the Members where such Members or principals have
       executed personal guarantees on behalf of the Company's business;

              (xii) negotiate and execute any and all documents in connection with any loan
       made to or by the Company or any subsidiary of the Company; and

              (xiii)   do all other things necessary or appropriate to accomplish the foregoing.

       By executing this Agreement, each Member shall be deemed to have consented to the
exercise by the Managers of any of the foregoing powers of the Managers contained herein in
accordance with the terms of this Agreement. Except as otherwise provided in this Agreement or
the Act, a Member shall have no voting rights with respect to the Company.

        (d)    Notwithstanding anything to the contrary herein, the Managers may not do any of
the following:

              (i)      any act in contravention of the Act or this Agreement; or

             (ii)   any act that would make it impossible to carry on the ordinary business of
       the Company as described in Section 4.1 hereof, except as otherwise provided in this
       Agreement.

        Section 7.2   Binding Authority. Unless specifically authorized to do so by this
Agreement, no Member (other than a Member acting in its capacity as a Manager) or other Person
shall have any power or authority to bind the Company, unless such Member or other Person has
been authorized by the Managers in writing to act on behalf of the Company. The signature of the
Managers on behalf of the Company shall be deemed binding on third parties; provided, however,
that the Managers shall remain liable to the other Members for acts which exceed the Managers'
authority under this Agreement.

    Section 7 .3       Managers.      The total number of Managers shall be two (2) unless
otherwise fixed at a different number by the written consent of a Super Majority of the Members.
ESquared Hospitality or its successors or assigns shall be entitled to designate one Manager. The

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initial Manager designated by ESquared Hospitality is Samantha Wasser. The other initial
Manager is CC. Each Manager shall serve until such Manager resigns or is removed in accordance
with Section 7.5, or such Manager dies (with respect to a Manager that is a person) or is unable to
serve. Each decision shall require the consent of a majority of the Managers; provided, however,
that in the event of a deadlock between the Managers, such deadlock shall be decided by the
Manager appointed by ESquared Hospitality or its successor or assign (the "Deadlock Rule") with
respect to any decision other than a Major Decision.

    Section 7.4        Actions Requiring Approval of the CC Entity. Notwithstanding anything to
the contrary contained in this Agreement, for so long as the CC Entity owns any of the outstanding
Membership Interests, the following actions shall be considered "Maior Decisions" which shall
require the approval of CC Entity and/or its Permitted Transferee:

              (a)  issuing any additional Membership Interest in or admitting any new
Member to the Company (except a Permitted Transferee);

                 (b)    increasing the number of Managers;

                 (c)    changing the Concept from "fast casual" vegan;

                 (d)    conducting any business of the Company relating to food or beverages that
is not vegan;

             (e)    changing the name of any Restaurant other that to a name that has been
approved by CC Entity for other Restaurants;

                 (f)  altering or waiving any provision of or otherwise amending any provision
of this Agreement, other than amending the agreement as permitted in the proviso of Section 20.1;
or

              (g)    entering into any financing arrangements with respect to any Restaurant,
other than Approved Financing Arrangements.

       The Members and Managers hereby approve the NFL License Agreement, substantially in
the form attached hereto as Exhibit C, and the Personal Services Agreement, substantially in the
form attached hereto as Exhibit D.

   Section 7.5          Resignation, Removal and Vacancies.

        (a)      A Manager may resign at any time by giving ten (10) days' prior written notice of
his, her or its resignation to the Members. Any such resignation shall take effect at the time
specified therein, or, if the time when it shall become effective shall not be specified therein, when
accepted by the other Manager(s). Except as aforesaid, the acceptance of such resignation shall
not be necessary to make it effective.

       (b)       CC may be removed as Manager (i) for Cause, (ii) in connection with a Service

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Member's termination for Cause, or (iii) if CC Entity (or its Permitted Transferee) is no longer a
Member (including in connection with an exercise of Exercise of Purchase Right or Put Right).

       (c)    In the event of the removal, resignation, Disability or death of a Manager, the
vacancy (and future vacancies of such position) shall be filled by ESquared Hospitality (or its
Permitted Transferees).

       (d)    In the event that a Manager resigns or is removed, except as otherwise provided in
this Agreement, such removal or resignation shall not affect his/her/its Membership Interests.

    Section 7.6           Compensation; Expenses.   No Manager shall receive any stated salary
for his/its services as a Manager. The Managers shall be reimbursed for all ordinary and necessary
out-of-pocket costs and expenses incurred in performing the functions of a Manager.

    Section 7.7        Fiduciary Duty.

         (a)     The Managers shall perform their duties as managers in good faith and with the
degree of care that an ordinarily prudent person in a like position would use under similar
circumstances. In performing their duties, the Managers shall be entitled to rely on information,
opinions, reports or statements, including financial statements and other financial data, in each
case prepared or presented by: (i) one or more agents or employees of the Company, or (ii) legal
counsel, public accountants or other persons as to matters that the Managers reasonably believe to
be within such person's professional or expert competence, as to matters within his designated
authority, which the Managers believe to merit confidence, so long as in so relying it shall be
acting in good faith and with such degree of care that an ordinarily prudent person in a like position
would use under similar circumstances. The provisions of this Agreement, to the extent they
restrict the duties and liabilities of the Managers otherwise existing at law or in equity, are agreed
by the parties hereto to replace such other duties and liabilities of the Managers.

        (b)     To the fullest extent permitted by applicable law, expenses (including reasonable
legal fees) incurred by any Manager in defending any claim, demand, action, suit or proceeding
relating to Section 7.7(a) shall, from time to time, be advanced by the Company prior to the final
disposition of such claim, demand, action, suit or proceeding upon receipt by the Company of an
undertaking by or on behalf of such Manager to repay such amount if it shall be determined by a
court of competent jurisdiction having final or unappealed dispositive authority over such matter
that such Manager is not entitled to be indemnified as authorized in Article XIV.

    Section 7.8        Transactions with Affiliates. Subject to Section 7.4(f), nothing in this
Agreement shall preclude transactions between the Company and an Affiliate or any of their
employees or agents acting in and for his/her or its own account, provided that all such transactions
shall be on a fair market "arm's length" basis (including, without limitation, that the rate of
compensation to be paid for any such services shall be comparable to the amount paid for similar
services under similar circumstances to independent third parties). Approved Financing
Arrangements shall be deemed to satisfy this requirement. The Managers shall have the power and
authority, on behalf of the Company, to take any and all lawful acts that the Managers consider
necessary, advisable, or in the best interests of the Company in connection with the transactions

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with Affiliates.

    Section 7.9        Delegated Authority. Notwithstanding anything to the contrary set forth
herein, the exclusive control, decision making authority and power of the Managers over the
business and affairs of the Company shall be subject to the Managers' delegation of authority or
responsibility as and when deemed appropriate by the Managers.

    Section 7.10        Other Business Activities of Managers. The Managers shall devote such of
their business time as they deem, in their reasonable discretion, necessary to manage and operate
the Company and to perform their obligations as set forth hereunder. It is understood and agreed
by the Members that the Managers will not be engaged full-time in the management of the
Company, and that the Managers have, and may have, duties and responsibilities to other
companies. Each Manager may engage in or hold interests in other business ventures of every
kind and description for their own account, except as otherwise limited pursuant to Section 6.8 or
with respect to Managers who are Service Members (for such purposes, CC shall be considered a
Service Member), Sections 19.2 and 19.7 and as set forth in the Personal Services Agreement. The
obligation to devote business time to the Company set forth in the Personal Services Agreement is
separate than the obligations set forth above.

    Section 7.11        Investment Opportunities. Except as limited under Section 4.3(c) or
Section 19. 7 herein, no Member or Manager shall be obligated to present any investment
opportunity to the Company, even if the opportunity is of a character consistent with the
Company's other activities and interests, and, subject to the limitations under Sections 4.3(c), 19.2
and 19. 7 herein, each Member and Manager shall have the right to take for its own account, or to
recommend to others, any investment opportunity presented to such Member or Manager.

    Section 7 .12      Power of Attorney.

        (a)     Each Member hereby appoints the Managers, acting collectively with power of
substitution, as its true and lawful representative and attorney-in-fact, in its name, place and stead
to make, execute, sign, acknowledge, swear to and file: (i) any and all instruments, certificates, and
other documents that may be deemed necessary or desirable to effect the Dissolution or
Liquidation of the Company in accordance herewith; and (ii) any business certificate, fictitious
name certificate, amendment thereto, or other instrument or document of a similar nature
necessary or desirable to accomplish the business, purpose and objectives of the Company, or
required by any applicable federal, state or local law.

        (b)     The power of attorney hereby granted by each Member is coupled with an interest,
is irrevocable, and shall survive, and shall not be affected by, the subsequent death, disability,
incapacity, incompetency, termination, bankruptcy or insolvency of such Member.

   Section 7 .13        Officers. The Managers may appoint officers. The officers of the
Company may consist of a President, one or more Vice Presidents, a Secretary, a Treasurer and
such other officers, if any, appointed by the Managers pursuant to a written resolution.
The powers and duties of each officer shall be as follows:

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        President. The President shall have, subject to the supervision, direction and control of the
Managers, the general powers and duties of supervision, direction and management of the affairs
and business of the Company usually vested in the president of a corporation, including, without
limitation, all powers necessary to direct and control the organizational and reporting relationships
within the Company.

       Other Officers. Each other officer shall have such powers and perform such duties as may
from time to time be assigned to him or her by the Managers or President.

                                          ARTICLE VIII

                                      CONFIDENTIALITY

    Section 8.1        Confidentiality/Proprietary Rights/Return of Company Property.

         (a)    The parties acknowledge that each Member and Manager (referred to in this
Section 8.1 as a "Restricted Person") may have access to and participate in the development of or
be acquainted with confidential or proprietary information and trade secrets related to this
Agreement, the business of the Company and its Affiliates (the "Companies"), including but not
limited to (i) business plans, operating plans, marketing plans, bid strategies, bid proposals,
financial reports, operating data, budgets, wage and salary rates, pricing strategies and
information, terms of agreements with suppliers or customers and others, customer lists, formulas,
patents, devices, software programs, reports, tangible property and specifications owned by or
used in the Companies' businesses, operating strengths and weaknesses of the Companies'
members, managers, shareholders, officers, directors, employees, agents, suppliers and customers,
(ii) information pertaining to future developments such as, but not limited to, research and
development, future marketing, distribution, delivery or merchandising plans or ideas, and
potential new distribution or business locations, (iii) other tangible and intangible property used in
the business and operations of the Companies, but not made publicly available, (iv) Company
Recipes, whether or not made publicly available and (v) the contents of this Agreement (the
"Confidential Information").

        (b)     No Restricted Person shall, directly or indirectly, disclose, use or make known for
his or another's benefit any Confidential Information or use such Confidential Information in any
way except in the best interests of the Companies in the performance of the Restricted Person's
duties under this Agreement. The Members acknowledge that CC Entity may discuss and do taste
tests of recipes with friends, family, interns and employees ("Testers") in connection with testing
and refining the same without violating this provision so long as such Testers are subject to
nondisclosure agreements in form reasonably satisfactory to the Managers.

        (c)    Return of Company Property. Upon the termination, resignation or replacement of
a Restricted Person, the Restricted Person shall deliver to the Company all copies of data,
information and knowledge of the Company, including, without limitation, all Confidential
Information, documents, correspondence, notebooks, reports, computer programs, names of
full-time and part-time employees and consultants, and all other materials and copies thereof
(including computer discs and other electronic media) relating in any way to the business of the

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Company in any way obtained by the Restricted Person during the period of his position with, the
Company.

        (d)     Neither CC nor the CC Entity shall use or permit others to use any of the Company
Recipes in connection with the operation of any restaurants, catering operations or packaged food
sales unrelated to the Company even if such recipes are published in cookbooks or other materials.

        (e)      The obligations of the Restricted Person under this Section 8.1 (including, without
limitation, clause (d)) shall survive (i) the removal or resignation of such Restricted Person as
Manager, (ii) the sale, exchange, transfer or forfeiture of such Restricted Person's Membership
Interests or (iii) the expiration or termination of this Agreement.


                             ARTICLE IX
        CONTRACTS, CHECKS, DRAFTS, BANK ACCOUNTS, PROXIES, ETC.

    Section 9.1         Execution of Documents. Except as specifically set forth herein, the
Managers shall have the power to execute and deliver deeds, leases, contracts, mortgages and other
grants of security interests, bonds, debentures, notes and other evidences of indebtedness, checks,
drafts and other orders for the payment of money and other documents approved or authorized as
required herein for and in the name of the Company, and such power may be delegated (including
power to re-delegate) by written instrument to officers, employees or agents of the Company.

   Section 9.2        Deposits. All funds of the Company not otherwise employed shall be
deposited from time to time to the credit of the Company or otherwise in accordance with
Company policy as approved by the Managers.

    Section 9.3         Proxies in Respect of Stock or Other Securities of Other Companies. The
Managers shall have the authority (a) to appoint from time to time an agent or agents of the
Company to exercise in the name and on behalf of the Company the powers and rights that the
Company may have as the holder of stock or other securities in any other company, (b) to vote or
consent in respect of such stock or securities, and (c) to execute or cause to be executed in the name
and on behalf of the Company such written proxies, consents, powers of attorney or other
instruments as they may deem necessary or appropriate in order that the Company may exercise
such powers and rights. The president or any such designated officer may instruct any Person or
Persons appointed as aforesaid as to the manner of exercising such power and rights.

                              ARTICLEX
         BOOKS AND RECORDS; RIGHTS OF INSPECTION; TAX MATTERS

    Section 10.1        Books And Records. The Company shall keep accurate books and records
relating to transactions with respect to the assets of the Company at the principal place of business
of the Company (or such other place of business or office as the Managers may designate), which
shall be available for the inspection by any Member (or audit by a Member at the Member's sole
cost and expense) or such Member's representative, upon reasonable notice and at reasonable
times on Business Days.

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    Section 10.2       Information.

        (a)    Each Member has the right to inspect: (i) a current list of the full name and last
known business, residence or mailing address of each Member, (ii) a copy of the Articles of
Organization and of this Agreement (as well as any signed powers of attorney pursuant to which
any such document was executed); (iii) a copy of the Company's federal, state and local income
tax returns and reports, and annual financial statements of the Company, for all Fiscal Years that
such Person is a Member; and (iv) copies of minutes (or written consents without a meeting), of
every meeting (or action taken by consent) of the Members or the Managers.

        (b)     Upon the request of a Member, the Company will furnish to each Member a
balance sheet, an income statement, and an annual statement of source and application of funds of
the Company prepared in accordance with US generally accepted accounting principles, and will
make reasonable efforts to cause to be delivered to each Member as promptly as practicable on or
before the later of90 days after such request, or June 30 of each Fiscal Year. Any Member shall
have the right to inspect the books and records of the Company during ordinary business hours
upon reasonable notice.

    Section 10.3       Tax Returns. The Company, at its expense, shall cause the preparation and
timely filing (including extensions) of all tax returns required to be filed by the Company pursuant
to the Code as well as all other required state and local tax returns in each jurisdiction in which the
Company owns property or does business. Within ninety (90) days following the end of each
Fiscal Year, the Company shall use reasonable efforts to provide each member with all necessary
tax reporting information, a copy of the Company's informational federal income tax return for
such Fiscal Year and such other information as is reasonably necessary to enable the Members to
comply with their tax reporting requirements. If the fmal federal income tax return is not
completed within such ninety (90) day period, the Managers shall provide estimates of income,
gain, loss, deductions and credit to the Members and shall endeavor to complete the Company's
income tax returns for such Fiscal Year within reasonably timely extension periods.

    Section 10.4    Tax Elections. The Company shall make and revoke such tax elections as
the Managers may from time to time determine.

    Section 10.5       Tax Matters Partner.

       (a)    ESquared Hospitality shall be the tax matters partner (the "Tax Matters Partner")
under §6231(a)(7) of the Code.

        (b)     The Tax Matters Partner shall be responsible for notifying all Members of ongoing
proceedings, both administrative and judicial, and shall represent the Company throughout any
such proceeding. Each Member agrees, and each holder of Membership Interests who is not a
Member shall be deemed by virtue of its ownership of Membership Interests to agree, that it shall
furnish the Tax Matters Partner with such information as the Tax Matters Partner may reasonably
request in order to allow the Tax Matters Partner to provide the Internal Revenue Service with
sufficient information with respect to any such proceedings.

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        (c)    If an administrative proceeding with respect to a partnership item under the Code
has begun, and the Tax Matters Partner so requests, each Member agrees, and each holder of
Membership Interests who is not a Member shall be deemed by virtue of its ownership of
Membership Interests to agree, that it shall notify the Tax Matters Partner of its treatment of any
partnership item on its federal income tax return, if any, that is inconsistent with the treatment of
that item on the partnership return for the Company. Any settlement agreement with the Internal
Revenue Service shall be binding upon the holder of Membership Interests only as provided in the
Code. The Tax Matters Partner shall not bind any other holder of Membership Interests to any
extension of the statute of limitations or to a settlement agreement without such holder's written
consent. Any holder of Membership Interests who enters into a settlement agreement with respect
to any partnership item shall notify the other holders of Membership Interests of such settlement
agreement and its terms within thirty (30) days from the date of settlement.

         (d)     If the Tax Matters Partners does not file a petition for readjustment of partnership
items in the Tax Court Federal District Court or Claims Court within the ninety (90) day period
following a notice of a final partnership administrative adjustment, any notice partner and
5-percent group (as such terms are defined in the Code) may institute such action within the
following sixty (60) days. The Tax Matters Partner shall timely notify the other Members in
writing of its decision. Any notice partner and 5-percent group shall notify any other Member of
its filing of any petition for readjustment.

   Section 10.6        No Partnership. The classification of the Company as a partnership shall
apply only for federal (and, as appropriate, state and local) income tax purposes. This
characterization, solely for tax purposes, does not create or imply a general partnership among the
Members for state law or any other purpose Instead, the Members acknowledge the status of the
Company as a limited liability company formed under the Act.

   Section 10.7       Title to Company Assets. Title to, and all right and interest in, the
Company's assets shall be acquired in the name of and held by the Company, or, if acquired in any
other name, be held for the benefit of the Company.

                                        ARTICLE XI
                                     CAPITAL ACCOUNTS

   Section 11.1      Maintenance. Each Member agrees that a single capital account (each a
"Capital Account") shall be established and maintained for each Member and shall be credited,
charged and otherwise adjusted as provided in this Article XI and as required by the Regulations
promulgated under §704(b) of the Code (the "§704(b) Regulations"). The Capital Account of each
Member shall be:

        (a)     credited with (i) each Capital Contribution made by such Member, (ii) such
Member's allocable share ofNet Profits and other items of income and gain of the Company (as
set forth in Article XI hereof), including items of income and gain exempt from tax, and (iii) all
other items properly charged to the Capital Account of such Member as required by the §704(b)
Regulations; and

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        (b)     charged with (i) each Distribution made to such Member by the Company, (ii) such
Member's allocable share of Net Losses and other items ofloss and deduction of the Company (as
set forth in Article XII hereof) and (iii) all other items properly charged to the Capital Account of
such Member as required by the §704(b) Regulations.

    Section 11.2         Adjustments. The Members intend to comply with the §704(b) Regulations
in all respects, and to agree to adjust their Capital Accounts to the full extent that the §704(b)
Regulations may apply (including, without limitation, applying the concepts of the minimum gain
chargebacks and qualified income offsets). To this end, each Member agrees to make any Capital
Account adjustment that, in the opinion of tax counsel selected by the Managers, is necessary or
appropriate to maintain equality between the aggregate Capital Accounts of the Members and the
amount of capital of the Company reflected on its balance sheet (as computed for book purposes),
as long as such adjustments are consistent with the underlying economic arrangement of the
Members and are based on, wherever practicable, and consistent with federal tax accounting
principles.

    Section 11.3       Market Value Adjustments. Each Member agrees that appropriate
adjustments (if any) shall be made to the Capital Accounts of all Members upon any Transfer of
Membership Interests, including those that apply upon the constructive liquidation of the
Company under §708(b)( 1) of the Code or the liquidation of a Member's Membership Interests, all
in accordance with the §704(b) Regulations.

    Section 11.4        Transfer. Each Member agrees that, if all or any part of its Membership
Interests are transferred in accordance with this Agreement, except to the extent otherwise
provided in the §704(b) Regulations, upon admission of the transferee as a Member, the Capital
Account of the transferor that is attributable to the transferred Membership Interests shall carry
over to the transferee.




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                               ARTICLE XII
              ALLOCATION OF INCOME, GAIN, LOSS AND DEDUCTION

   Section 12.1        Allocation of Net Profits and Net Losses. The Net Profits and the Net
Losses for each Fiscal Year shall be allocated among the Members as follows:

         Subject to Section 12.3, Net Profits and Net Losses for each Fiscal Year shall be (except as
otherwise required by Section 704(b) of the Code or the §704(b) Regulations as determined by the
Managers together in their sole discretion) be allocated to the Members in a manner such that the
Capital Account of each Member, immediately after giving effect to such allocation, is, as nearly
as possible, equal (proportionately) to (i) the distributions that would be made to such Member
during such Fiscal Year pursuant to Section 13, if (A) the Company were dissolved and
terminated; (B) its affairs were wound up and each asset of the Company were sold for cash equal
to its Fair Market Value); (C) all Company liabilities were satisfied (limited with respect to each
nonrecourse liability to the book value of the assets securing such liability); and (D) the net assets
of the Company were distributed in accordance with Section 13 (other than Section 13 .4) to the
Members immediately after giving effect to such allocation, minus (ii) such Member's share of
Company Minimum Gain. The Managers may, together in their sole discretion, make such other
assumptions (whether or not consistent with the foregoing assumptions) as the Managers deem
necessary or appropriate to effectuate the intended economic arrangement of the Members, which
is for the allocations pursuant to this Section 12.1 to track and follow the distributions actually
made pursuant to Section 13.

    Section 12.2       Allocation in the Event of Property Distribution. Any non-cash asset
distributed to one or more Members shall first be valued at its Fair Market Value to determine the
gain or loss that would have resulted if such asset were sold for such value. Such gain or loss shall
then be allocated in accordance with Section 12.1.

    Section 12.3       Special Rules. Notwithstanding the general allocation rules set forth in
Section 12.1 or the allocation rules set forth in Section 12.2, the following special allocation rules
shall apply under the circumstances described.

       (a)     Deficit Capital Account and Nonrecourse Debt Rules.

                (i)     Limitation on Loss Allocations. The Net Losses allocated to any Member
       pursuant to Section 12.1 with respect to any Fiscal Year shall not exceed the maximum
       amount of Net Losses that can be so allocated without causing such Member to have a
       deficit in its Adjusted Capital Account at the end of such Fiscal Year. All Net Losses in
       excess of the limitation set forth in the preceding sentence of this Section 12.3(a)(i) shall be
       allocated (1) first, to the maximum extent permitted by the Code and the Regulations, pro
       rata among the Members having positive balances in their Adjusted Capital Accounts
       (after giving effect to the allocations required by Section 12.1) in the ratio obtained by
       dividing (x) each such Member's Capital Account balance by (y) the sum of all such
       Members' Capital Account balances and (2) second, any remaining amount to the
       Members in accordance with their Percentage Interests.


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         (ii)    Qualified Income Offset. If in any Fiscal Year a Member unexpectedly
receives an adjustment, allocation or distribution described in §§1.704-1 (b)(2)(ii)(d)(4),
(5) or (6) of the Regulations, and such adjustment, allocation or distribution causes, or
increases, a deficit in the Adjusted Capital Account for such Member, then, before any
other allocations are made under this Agreement or otherwise, such Member shall be
allocated items of income and gain (consisting of a pro rata portion of each item of income,
including gross income and gain) in an amount and manner sufficient to eliminate such
deficit in the Adjusted Capital Account as quickly as possible.

        (iii)    Company Minimum Gain Chargeback. If there is a net decrease in
Company Minimum Gain during any Fiscal Year, each Member shall be allocated items of
income and gain for such Fiscal Year (and, if necessary, for subsequent Fiscal Years) in
proportion to, and to the extent of, an amount equal to the portion of such Member's share
of the net decrease in Company Minimum Gain during such Fiscal Year, subject to the
exceptions set forth in§ 1. 704-2(f)(2), (3) and (5) of the Regulations (hereinafterreferred to
as "Company Minimum Gain Cbargeback"); provided that, if the Company has any
discretion as to an exception set forth in §1.704-2(f)(5), the Tax Matters Partner (with the
consent of the other Members) shall exercise such discretion on behalf of the Company.
The Tax Matters Partner shall, if the application of this Section 12.3(a)(ii) would cause a
distortion in the economic arrangement among the Members, ask the Commissioner of the
Internal Revenue Service to waive the Company Minimum Gain Chargeback requirements
pursuant to § 1. 704-2(f)(4) of the Regulations. To the extent that this Section is inconsistent
with §1.704-2(f) or l.704-2(k) of the Regulations or incomplete with respect to such
Sections of the Regulations, the Company Minimum Gain Chargeback provided for herein
shall be applied and interpreted in accordance with such Sections of the Regulations.

        (iv)    Member Minimum Gain Chargeback. If there is a net decrease in Member
Minimum Gain during any Fiscal Year, each Member shall be allocated items of income
and gain for such Fiscal Year (and, if necessary, for subsequent Fiscal Years) in proportion
to, and to the extent of, an amount equal to such Member's share of the net decrease in
Member Minimum Gain during such Fiscal Year, subject to the exceptions set forth in §§
l.704-2(f)(2), (3), and (5) of the Regulations as referenced by §1.704-2(i)(4) of the
Regulations (hereinafter referred to as "Member Minimum Gain Chargeback"). The
Tax Matters Partner shall, if the application of this Section 12.3(a)(iv) would cause a
distortion in the economic arrangement among the Members, ask the Commissioner of the
Internal Revenue Service to waive the Member Minimum Gain Chargeback requirement
pursuant to §1.704-2(i)(4) of the Regulations. To the extent that this Section 12.3(a)(iv) is
inconsistent with §1.704-2(i)(4) or 1.704-2(k) of the Regulations or incomplete with
respect to such Sections of the Regulations, the Member Minimum Gain Chargeback
provided for herein shall be applied and interpreted in accordance with such Sections of the
Regulations.

        (v)    Nonrecourse Deductions. Nonrecourse deductions shall be allocated among
the Members in accordance with their respective Percentage Interests. Member
Nonrecourse Deductions shall be allocated among the Members in accordance with the
ratios in which the Members share the economic risk ofloss for the Member Nonrecourse

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       Debt that gave rise to those deductions as determined under § 1. 752-2 of the Regulations
       This allocation is intended to comply with the requirements of §1.704-2(i) of the
       Regulations and shall be interpreted and applied consistent therewith.

               (vi)      Limited Effect and Interpretation. The special rules set forth in Sections
       12.3(a)(i), (ii), (iii), (iv) and (v) (the "Regulatory Allocations") shall be applied only to
       the extent required by applicable Regulations for the resulting allocations provided for in
       this Section 12.3, taking into account such Regulatory Allocations, to be respected for
       federal income tax purposes. The Regulatory Allocations are intended to comply with the
       requirements of §1.704-l(b), 1.704-2 and 1.752-1 through 1.752-5 of the Regulations and
       shall be interpreted and applied consistently therewith.

               (vii) Curative Allocations. The Regulatory Allocations may not be consistent
       with the manner in which the Members intend to divide the Net Profits, Net Losses and
       similar items. Accordingly, Net Profits, Net Losses and other items shall be reallocated
       among the Members in a manner consistent with §§1.704-l(b) and 1.704-2 of the
       Regulations so as to negate as rapidly as possible any deviation from the manner in which
       Net Profits, Net Losses and other items are intended to be allocated among the Members
       pursuant to Sections 12.1 and 12.2 that is caused by the Regulatory Allocations.

                (viii) Change in Regulations. If the Regulations incorporating the Regulatory
       Allocations are hereafter changed or if new Regulations are hereafter adopted, and such
       changed or new Regulations, in the opinion of independent tax counsel for the Company,
       make it necessary to revise the Regulatory Allocations or provide further special allocation
       rules in order to avoid a significant risk that a material portion of any allocation set forth in
       this Article XII would not be respected for federal income tax purposes, the Members shall
       make such reasonable amendments to this Agreement as, in the opinion of such counsel,
       are necessary or desirable, taking into account the interests of the Members as a whole and
       all other relevant factors, to avoid or reduce significantly such risk to the extent possible
       without materially changing the amounts allocable and distributable to any Member
       pursuant to this Agreement.

       (b)      Change in Member's Interests. If there is a change in any Member's share of the
Net Profits, Net Losses or other items of the Company during any Fiscal Year, allocations among
the Members shall be made in accordance with their interests in the Company from time to time
during such Fiscal Year in accordance with §706 of the Code, using the closing-of-the-books
method, except that Depreciation, amortization and similar items shall be deemed to accrue ratably
on a daily basis over the entire Fiscal Year during which the corresponding asset is owned by the
Company if such asset is placed in service prior to or during the Fiscal Year.

   Section 12.4 Tax Allocations.

       (a)      In General. Except as set forth in Section 12.3, allocations for tax purposes ofitems
of income, gain, loss and deduction, and credits and basis therefor, shall be made in the same
manner as allocations for book purposes as set forth in Sections 12.1 and 12.2. Allocations
pursuant to this Section 12 4 are solely for purposes of federal, state and local income taxes and

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shall not affect, or in any way be taken into account in computing, any Member's Capital Account
or share of Net Profits, Net Losses, other items or Distributions pursuant to any provision of this
Agreement.

       (b)     Special Rules.

               (i)     Elimination of Book/J'ax Disparities. Any item of income, gain, loss, and
       deduction with respect to any property (other than cash) that has been contributed by a
       Member to the capital of the Company and which is required to be allocated for income tax
       purposes under Section 704(c) of the Code so as to take into account the variation between
       the tax basis of such property and its agreed upon Fair Market Value at the time of its
       contribution shall be allocated to the Members solely for income tax purposes in any
       manner permitted by Section 704(c) selected by the Tax Matters Member. Similarly, if any
       property of the Company is reflected in the Capital Accounts of the Members and on the
       books of the Company at a Book Value that differs from the adjusted tax basis of such
       property, the Company's allocations of tax items shall be appropriately made pursuant to
       the Treasury Regulations using Section 704(c) principles so as to take account of the
       variation between the adjusted tax basis of the applicable property and its Book Value.

               (ii)    Allocation of Items Among Members. Except as otherwise provided in
       Section 12.3(a) and this Section 12.4(b), each item of income, gain, loss and deduction and
       all other items governed by§ 702(a) of the Code shall be allocated among the Members in
       proportion to the allocation ofNet Profits and Net Losses set forth in Sections 12.1 and
       12.2, provided that any gain recognized from any disposition of a Company asset that is
       treated as ordinary income because it is attributable to the recapture of any depreciation or
       amortization shall be allocated among the Members in the same ratio as the prior
       allocations of Net Profits, Net Losses or other items that included such depreciation or
       amortization, but not in excess of the gain otherwise allocable to each Member.

              (iii)  Tax Credits. All tax credits shall be allocated among the Members in
       accordance with their Percentage Interests.

        (c)     Conformity of Reporting. The Members are aware of the income tax consequences
of the allocations made by this Section 12.4 and hereby agree to be bound by the provisions of this
Section 12.4 in reporting their shares of the Company's profits, gains, income, losses, deductions,
credits and other items for income tax purposes.·

                                        ARTICLE XIII
                                       DISTRIBUTIONS

    Section 13 .1      Distributions. Except as otherwise provided in this Agreement,
Distributions of Available Cash, other than Tax Distributions in accordance with Section 13.4,
shall be made to the Members in cash on a quarterly basis (within thirty (30) days of the end of
each Fiscal Quarter), in the following order and priority:

       (a)     First, to repay Unreturned Capital Contributions to the Members proportionately

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based on their Unreturned Capital Contributions until each Member's Unreturned Capital
Contributions has been reduced to zero; and

       (b)     Second, to the Members pro rata in proportion to their Percentage Interests.


    Section 13 .2      Withholding.

       (a)     If required by the Code, or by state or local law, the Company shall withhold any
required amount from Distributions to a Member for payment to the appropriate taxing authority.
Any amount so withheld from a Member shall be treated as a Distribution by the Company to such
Member. Each Member agrees to timely file any document that is required by any taxing authority
in order to avoid or reduce any withholding obligation that would otherwise be imposed on the
Company.

        (b)     To the extent any amount that is required to be withheld and paid over to an
appropriate taxing authority is in excess of the Distributions then distributable to such Member, the
Company shall notify the Member in writing of its obligation to pay to the Company the amount of
the withholding tax in excess of the Distributions to which such Member would otherwise then be
entitled. Each Member shall pay the amount of such excess to the Company within five (5)
business days after receipt of such written notice. If the Company is required to remit any such
excess withholding tax for the account of any Member prior to the Company's receipt of such
payment, the Company shall remit the full required amount of such withholding tax to the taxing
authority (if and to the extent that Company funds are available for such purpose) and the amount
of such excess shall be treated as a loan (a "Withholding Advance") from the Company to the
Member, which shall accrue interest until paid at the Default Rate.

        (c)     Any Withholding Advance made to a Member and any interest accrued thereon
shall be credited and offset against the amount of any later payment or Distributions to which the
Member would otherwise be entitled, with credit for accrued and unpaid interest as of the date such
payment or Distribution would otherwise have been made being applied before any credit for the
amount of the Withholding Advance. Any Withholding Advance made to a Member and any
interest accrued thereon, to the extent it has not previously been paid by the Member in cash or
fully credited against payments or Distributions to which the Member would otherwise be entitled,
shall be paid by the Member to the Company upon the earliest of (i) the dissolution of the
Company, (ii) the date on which the Member ceases to be a Member of the Company, or (iii)
demand for payment by the Managers.

   Section 13 .3    Offset. The Company may offset all amounts owing to the Company by a
holder of Membership Interests against any Distribution to be made to such holder.

    Section 13.4       Tax Distributions. The Company shall make, no later than April 1st after
each Fiscal Year, a distribution (a "Tax Distribution") out of Available Cash to each Member of
an amount equal to the amount, if any, by which (x) the net amount of Company taxable income
allocated to such Member for all prior Fiscal Years (including the Fiscal Year just completed) of
the Company, multiplied by the highest current Effective Tax Rate, exceeds (y) the cumulative
amount of all distributions to such Member to the date of such distribution. Any Tax Distributions
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made to a Member shall be treated as an advance distribution to such Member pursuant to Section
13 .1 and shall reduce the amount of distributions otherwise distributable to such Member pursuant
to Section 13.1.

     Section 13.5         Limitation Upon Distributions. No Distribution shall be declared and paid
to the extent that, at the time of the Distribution, after giving effect to the Distribution, all liabilities
of the Company (other than liabilities to Members on account of their interest in the Company and
liabilities for which recourse of creditors is limited to specified property of the Company) exceed
the Fair Market Value of the assets of the Company (except that the Fair Market Value of property
that is subject to a liability for which the recourse of creditors is limited shall be included in the
assets of the Company only to the extent that the Fair Market Value of such property exceeds such
liability).

                                           ARTICLE XIV
                                         INDEMNIFICATION

     Section 14.1       Indemnification. The Company shall indemnify and hold harmless each
Member and each general or limited partner of any Member or such Member's Affiliates,
shareholders, members or other holder of any equity interest in such Member or its Affiliate, or
any officer or director of any of the foregoing and each and every Manager and any representative,
manager and officer of the Managers (collectively, the "Indemnified Party"), in accordance with
this Article XIV and to the fullest extent allowed by the law, from and against any and all losses,
claims, damages, liabilities, expenses (including legal and other professional fees and
disbursements), judgments, fines, settlements, demands, costs, causes of action and other amounts
(each an "Indemnification Obligation") arising from any and all claims, demands, actions, suits
or proceedings (civil, criminal, administrative or investigative), actual or threatened, in which such
Indemnified Party may be involved, as a party or otherwise, by reason of such Indemnified Party's
service to, or on behalf of, or management of the affairs of, the Company, or rendering of advice or
consultation with respect thereto, or which relate to the Company, its properties, business or
affairs, or any matter incidental to this Agreement, including the formation hereof, the making of
the initial Capital Contributions and any matter for which such Indemnified Party is exculpated,
whether or not the Indemnified Party continues to be a Member, Manager, representative or officer
at the time any such Indemnification Obligation is paid or incurred, provided that that the conduct
of the Indemnified Party has not been established by a judgment or other final adjudication adverse
to such Indemnified Party (a) to constitute bad faith or be the result of active and deliberate
dishonesty and be material to the cause of action so adjudicated, or (b) to result in financial profit
or other advantage to the Indemnified Party to which the Indemnified Party was not legally
entitled. Any indemnity under this Section shall be paid solely out of and to the extent of
Company Assets and shall not be a personal obligation of any Member and in no event shall any
Member be required, or permitted without the consent of all of the Members, to contribute
additional capital to enable the Company to satisfy any obligation under this Section. The
Company shall also indemnify and hold harmless any Indemnified Party from and against any
Indemnification Obligation suffered or sustained by such Indemnified Party by reason of any
action or inaction of any employee, broker or other agent of such Indemnified Party, provided, that
such employee, broker or agent was selected, engaged or retained by such Indemnified Party with
reasonable care. The termination of a proceeding by judgment, order, settlement, conviction or

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upon a plea of nolo contendere, or its equivalent, shall not, of itself, create a presumption that such
Indemnification Obligation resulted from actions that (a) constituted bad faith or be the result of
active and deliberate dishonesty and be material to the cause of action so adjudicated, or (b)
resulted in fmancial profit or other advantage to the Indemnified Party to which the Indemnified
Party was not legally entitled. Expenses (including legal and other professional fees and
disbursements) incurred in any proceeding shall be paid by the Company, as incurred, in advance
of the final disposition of such proceeding upon receipt of an undertaking by or on behalf of such
Indemnified Party to repay such amount if it shall ultimately be determined that such Indemnified
Party is not entitled to be indemnified by the Company as authorized hereunder.

    Section 14.2       Indemnification Not Exclusive. The indemnification provided by this
Article XIV shall not be deemed to be exclusive of any other rights to which each Indemnified
Party may be entitled under any agreement, or as a matter of law, or otherwise, both as to action in
such Indemnified Party's official capacity and to action in another capacity, and shall continue as
to such Indemnified Party who has ceased to have an official capacity for acts or omissions during
such official capacity or otherwise when acting at the request of the Managers, or any Person
granted authority thereby, and shall inure to the benefit of the heirs, successors and administrators
of such Indemnified Party.

    Section 14.3       Insurance on Behalf of Indemnified Party. The Managers shall have the
power, but not the obligation, to purchase and maintain insurance on behalf of each Indemnified
Party, at the expense of the Company, against any liability which may be asserted against or
incurred by it or him in any such capacity, whether or not the Company would have the power to
indemnify the Indemnified Parties against such liability under the provisions of this Agreement.

    Section 14.4       Indemnification Limited by Law. Notwithstanding any of the foregoing to
the contrary, the provisions of this Article XIV shall not be construed so as to provide for the
indemnification of an Indemnified Party for any liability to the extent (but only to the extent) that
such indemnification would be in violation of applicable law or to the extent that such liability may
not be waived, modified or limited under applicable law, but shall be construed so as to effectuate
the provisions of this Article XIV to the fullest extent permitted by law.


                                      ARTICLE XV
                                 ACCOUNTING PROVISIONS

   Section 15.1     Fiscal Year. For income tax and financial accounting purposes, the Fiscal
Year of the Company shall end on December 31 of each year (unless otherwise required by the
Code).

    Section 15.2      Accounting Matters. All decisions as to accounting matters, except as
otherwise expressly provided herein, shall be made by the Managers. The Managers may rely upon
the advice of the Company's accountants as to whether such decisions are in accordance with
accounting methods followed for federal income tax purposes or financial accounting purposes (as
applicable).

                                          ARTICLE XVI
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                                         DISSOLUTION

    Section 16.1        Dissolution. Dissolution of the Company shall occur upon the happening
of any of the following events: (i) the consent of the Managers, (ii) the sale of all or substantially
all of the Company's assets; provided, however, that if, in connection with such sale or other
disposition, the Company receives a promissory note or notes evidencing all or a part of the
purchase price of a property, the Company shall not be dissolved until such promissory note(s) are
satisfied, sold or otherwise disposed of, but distributions from such sale or other disposition shall
nevertheless be made pursuant to Section 17.2 below, and not Section 13.1, (iii) the conversion of
the Company into a corporation or other Person; or (iv) an entry ofjudicial dissolution pursuant to
Section 702 the Act or as otherwise provided under Section 701 of the Act. The Company shall
not be dissolved by the death, resignation, withdrawal, bankruptcy or dissolution of a Member.

                                         ARTICLE XVII
                                         LIQUIDATION

    Section 17.1          Liquidation. Upon Dissolution of the Company, the Company shall
immediately proceed to wind up its affairs and liquidate. The Liquidation of the Company shall be
accomplished in a businesslike manner by such Person or Persons designated by the Managers,
which Person(s) shall be entitled to reasonable compensation therefor. Subject to Section 17.3, a
reasonable time shall be allowed for the orderly Liquidation of the Company and the discharge of
liabilities to creditors so as to enable the Company to minimize any losses attendant upon
Liquidation. Any Net Profits or Net Losses on disposition of any Company assets in Liquidation
shall be allocated among the Members and credited or charged to Capital Accounts in accordance
with Section 12.1 and 12.2. Until the filing of the articles of dissolution under Section 17.6 and
without affecting the liability of Members and without imposing liability on the liquidating trustee,
the Person or Persons conducting the liquidation may settle and close the Company's business,
prosecute and defend suits, dispose of its property, discharge or make provision for its liabilities
and make Distributions in accordance with the priorities set forth in Section 17.2.

   Section 17.2        Priority of Payment. The assets of the Company shall be distributed in
Liquidation in the following order:

      (a)     To creditors, including Members who are creditors, by the payment or provision for
payment of the debts and liabilities of the Company and the expenses of Liquidation;

       (b)     To the setting up of any reserves that are reasonably necessary for any contingent or
unforeseen liabilities or obligations of the Company; and

       (c)     To Members in the same order and manner as distributions under Section 13.1.

    Section 17.3       Negative Capital Accounts. If, after the allocation of all Profit or Loss from
the winding up of the Company and the distribution of assets pursuant to Section 17.2 hereof and
upon final liquidation of the Company, the Capital Account of any Member is negative, the
Member shall not be obligated to restore the negative balance in its Capital Account.


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    Section 17.4       Timing. Final Distributions in Liquidation shall be made by the end of the
Company's Fiscal Year in which such actual Liquidation occurs (or, iflater, within ninety (90)
days after such event) in the manner required to comply with the §704(b) Regulations. Payments
of Distributions in Liquidation may be made to a liquidating trust established by the Company for
the benefit of those entitled to payments under Section 17.2 in any manner consistent with this
Agreement and the §704(b) Regulations.

    Section 17.5      Liquidating Reports. A report shall be submitted with each liquidating
Distribution to the Members, showing the collections, disbursements and Distributions during the
period which is subsequent to any previous report. A final report, showing cumulative collections,
disbursements and Distributions, shall be submitted upon completion of the Liquidation process.

    Section 17.6      Articles of Dissolution. Within ninety (90) days following the Dissolution
of the Company and the commencement of winding up of its business, or at any other time there
are no Members, the Company shall file Articles of Dissolution (to cancel the Articles of
Organization) with the Secretary of State of the State of New York pursuant to the Act. At such
time, the Company shall also file an application for withdrawal of its Certificate of Authority in
any jurisdiction where it is then qualified to do business.

                                     ARTICLE XVIII
                                 TRANSFER RESTRICTIONS

    Section 18.1         Transfer Restrictions. Except as otherwise provided in this Article XVIII,
no Member shall, directly or indirectly, sell, assign, pledge, mortgage, encumber, hypothecate,
grant a security interest in or otherwise dispose of or transfer (or suffer any of the foregoing to
occur), whether voluntarily or involuntarily or by operation oflaw or otherwise, or grant or create
any participation in such Member's right to receive distributions or returns of capital, all or a
portion of its Membership Interest in the Company (in the case of CC Entity, this provision
restricts the transfer of any ownership interests therein from CC) (each, a "Transfer") without the
prior written consent of the Managers. If such written consent is not first obtained, the proposed
transferee or assignee of the Membership Interest (or portion thereof) so transferred or assigned
shall have no right to be, and shall not be, admitted as a Member and shall have no right to
participate in, and shall not participate in, the management of the business and affairs of the
Company, and such Transfer shall be null and void. No Member may encumber any or all of his
Membership Interest in the Company in connection with any debt, guarantee or personal
undertaking, except with the unanimous consent of the Managers or if approved under the terms of
Approved Financing Arrangements.

    Section 18.2         Permitted Transfers. Notwithstanding anything to the contrary in Section
18.1, (i) a Member that is an entity may transfer or assign its Membership Interest (or any portion
thereof) to its Affiliates, and (ii) a member that is an individual may transfer or assign his
Membership Interest to a sibling or lineal descendent, or a trust the beneficiary or beneficiaries of
which is or are the Member and/or one or more Immediate Family members of such Member or a
Family Trust of such Member for estate planning purposes, or at death by operation of law or
through a testamentary transfer, in each case without the consent required in Section 18.1,
provided that such transferee first agrees, in writing, to be bound by all the provisions of this

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Agreement (a "Permitted Transfer"), and, provided further, that any such assignment by CC
Entity (or its transferee) shall not relieve CC or CC Entity of their obligations hereunder. The
transferring or assigning Member shall promptly notify the Managers, in writing, of any such
Permitted Transfer to a permitted transferee (a "Permitted Transferee"}, and such Member and
Permitted Transferee shall execute and deliver or cause to executed and delivered such
documentation (including but not limited to a joinder agreement or substitute signature page to this
Agreement that binds such Permitted Transferee to the obligations of a Member hereunder) as the
Managers shall reasonably request, and the Managers shall update Exhibit A attached hereto to
reflect any changes to the Members. Permitted Transfers are not subject to the First Refusal Right,
Drag Along Right or Tag Along Right. Notwithstanding the foregoing, while CC Entity is the
Service Member, any transfer of its interest shall require the approval of the Managers, such
approval not to be unreasonably withheld. For the avoidance of doubt, any Membership
Interests transferred by CC Entity (or any future transfers of such interests by any
transferee) shall be subject to the Membership Interest Recapture provisions set forth
below.

    Section 18.3       Right of First Refusal.

        (a)      If a Member ("Third-Party Transferor") or any principal, member or partner of
such Third Party Transferor whose sole asset is Membership Interests desires to, directly or
indirectly, Transfer all or part of his or its Membership Interest (the "Offered Interest") in the
Company or interest in such Third-Party Transferor (or constituent entity of such Third-Party
Transferor) to an unrelated third party ("Third-Party Transferee"), and such transfer has been
approved in accordance with Section 18.1, and such Third-Party Transferor has not exercised its
Drag Along Right, if any, such Third-Party Transferor shall provide the other Members written
notice ("Offer Notice") offering to Transfer to the other Members the Offered Interests ("First
Refusal Right") on all of the same terms and conditions which the Third-Party Transferor is
willing to Transfer the Offered Interest to the Third-Party Transferee, all of which shall be set forth
in reasonable detail in the Offer Notice (including the price per Membership Interest). The other
Members shall have the exclusive right for a period of thirty (30) days after the Offer Notice is
received ("Offer Period"), by means of written notice to the Third-Party Transferor ("Response
Notice") to agree to purchase all or a portion of the Offered Interests that are being offered to the
other Members. If one ( 1) Member exercises the First Refusal Right by accepting the offer, the
Third-Party Transferor shall Transfer to such Member the entire Offered Interest being offered to
the other Members on the same terms and conditions which it is willing to transfer the Offered
Interest to the Third-Party Transferee. If more than one (I) Member exercises the First Refusal
Right by accepting the offer, the Third-Party Transferor shall Transfer to each such Member the
Offered Interest being offered to the Members pro rata in proportion to its respective Percentage
Interest prior to such Transfer on the same terms and conditions which it is willing to transfer the
Offered Interest to the Third-Party Transferee. Failure to give the Member Response Notice
within the thirty (30) day period shall be deemed a rejection of the Offered Interest.

        (b)     In the event that the other Members do not collectively elect to purchase all of the
Offered Interests, then the Third-Party Transferor shall be free to Transfer the Offered Interests
that the other Members did not elect to purchase to the Third-Party Transferee for a period of 90
days from the expiration of the Offer Period on terms and conditions no more favorable to

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Third-Party Transferee than set forth in the Offer Notice. If the Offered Interests shall not have
been sold in a bona fide transaction pursuant to this Section 18.3, then all of such Offered Interests
then owned by such Third-Party Transferor shall again be subject to all of the restrictions and
provisions of this Agreement.

        (c)     Any transfer or assignment of a Membership Interest (or any portion thereof) to any
Member permitted or required pursuant to the terms of this Agreement is hereby authorized and
shall not require the consent of the Managers.

    18.4       Drag-Along Rights.

        (a)     IfESquared Hospitality (or its successor) finds a third party buyer for all the
outstanding Membership Interests or assets of the Company (whether such sale is by way of
purchase of assets or Membership Interests, merger, recapitalization or other form of transaction,
and whether related to the sale solely of the Business or an ESquared Hospitality Liquidity Event)
(the "Dragging Member"), the Dragging Member may elect to require all, but not less than all, of
the other Members to sell all, but not less than all, of the Membership Interests then owned by the
Members to the third party purchaser for proportionally the same consideration (based on relative
Percentage Interest) and on the same terms and conditions as the Dragging Member will receive
provided, that with respect to a sale of Membership Interests, the Dragging Member's and the
other Members' share of the purchase price paid by the bona fide third party buyer shall be equal to
the amount of Distributions which the Dragging Member and other Members would be entitled to
receive if the Company were to sell all or substantially all of its assets for such purchase price and
were to distribute the proceeds from such sale to the Members pursuant to Section 13 .1 ("Drag
Along Right"). To exercise such rights, the Dragging Member shall send written notice (the
"Drag-Along Notice") to each of the other Members, setting forth the consideration per
Membership Interest to be paid by the third party purchaser and the other terms and conditions of
such transaction. The Dragging Member may execute any documents as shall be required by the
Company for the purpose of transferring the Membership Interests of all the Members on the
books and records of the Company, as required by this Section 18.3(a), and the Dragging Member
is deemed appointed the attorney-in-fact of such other Members for the purpose of effectuating the
requirements of this Section 18.3(a); provided, however, that the other Members shall not be
required to make any representations or warranties with respect to selling such Membership
Interests but will be required to provide the indemnification on a several basis with respect to such
representations made by the Dragging Member with respect to such sale of Membership Interests.

        (b)     Promptly, but in no event later than two (2) Business Days after the consummation
of the sale of Membership Interests of the Members pursuant to Section 18.3(a), the Dragging
Member shall remit to each of the other Members the applicable sales price for the Membership
Interests of such other Members sold pursuant hereto. All expenses incurred by the Members in
connection with the sale of their Membership Interests or the assets of the Company in accordance
with this Section 18.3 shall be expenses of the Company (and paid out of sales proceeds before
distribution).

    Section 18.5       Tag Along Rights.



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        (a)      If a Member (the "Selling Member") finds a third party buyer for all or any portion
of its Membership Interest, and the sale is approved by the Managers as required pursuant to
Section 18.1 and no Drag Along Right has been exercised, the Selling Member(s) shall provide to
all other Members a notice, which notice shall fully disclose all material terms of the proposed
transaction, including, but not limited to, the name of the proposed purchaser, the purchase price
and terms of sale and any information as to the ability of the proposed purchaser to perform such
offer that the Selling Member(s) then possesses (the "Selling Member Notice"), and any other
Member may elect to participate in the contemplated transfer to the purchaser by delivering
written notice to the Selling Members within thirty (30) days after receipt of the Selling Member
Notice by said Members (the "Tag Along Period"). If any such Members elect to participate in
the contemplated transfer (a "Participating Holder"), the Selling Member(s) and each
Participating Holder shall be entitled to participate in the contemplated transfer pro rata in
accordance with each such Member's Percentage Interest. The purchase by the purchaser of
Membership Interests of Participating Holders and the Selling Member(s) shall be upon the terms
set forth in the Selling Member Notice.

        (b)     Promptly, but in no event later than two (2) Business Days, after the
consummation of the sale of Membership Interests of the Members pursuant to Section 18.4(a) the
Selling Member(s) shall remit to each of the other Members the applicable sales price for the
Membership Interests of such other Members sold pursuant hereto. All expenses incurred by the
Members in connection with the sale of their Membership Interests in accordance with this Section
18.4 shall be expenses of the Company (and paid out of sales proceeds before distribution).

    Section 18.6        Appraisal in Connection ESguared Hospitality Liquidity Event.
Notwithstanding anything to the contrary herein, with respect to any sale of substantially all of the
Company's assets, sale of all the Company's Membership Interests, or a merger or
recapitalization, if such sale occurs in connection with an ESquared Hospitality Liquidity Event,
and such sale is not approved by a Super Majority of the Members, the value of the Company in
such sale shall be determined by an independent appraisal conducted by an independent appraiser
selected by the Managers, the cost of which appraisal shall be borne by the Company.

   Section 18. 7        Time of the Essence. Time shall be of the essence for all time periods
specified in this Article XVIII.




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                                         ARTICLEXIX
                                       SERVICE MEMBER

        Section 19.1 Service Member. CC Entity shall be the service member ("Service
Member") of the Company (its "Position") and in connection therewith shall perform the duties
set forth in Section 19.2. Unless otherwise agreed to by the Managers, transfers of Membership
Interests by CC Entity (or subsequent transfers of such interests or portions thereof by transferees)
does not release CC Entity of its obligations as a Service Member.

        Section 19.2      Service Member's Duties.

        (a)     Duties.

                i.     The services required to be performed by CC Entity hereunder shall be
performed solely by CC ("CC"). CC shall, together with ESquared Hospitality, develop the
Concept, including the Company Recipes, and test and update the same from time to time as
reasonably required by the Managers. Upon the opening of the first Restaurant, if any, CC shall
devote all reasonably necessary time and efforts and attention to the business of the Company
(other than absences due to vacation, illness, disability or approved leave of absence), as may be
more specifically reasonably enumerated from time to time by the Managers. Without limitation to
the terms of the Personal Services Agreement, included in CC Entity's responsibilities shall be
CC's personal appearances at the Restaurants, social media posts, public appearances, media
appearances, and other promotional services as reasonably determined by the Managers ("CC
Promotional Activities").

              ii.     CC shall be consulted on the decor, menu, publicity, locations, operations
and day-to-day management of the Restaurants including but not limited to, the hiring or
termination of personnel, unless such consultation is not practical in the specific circumstances;
provided, however, that, except for Major Decisions, the final decision for such matters rests with
ESquared Hospitality (or its Permitted Transferee).

                111.     Except as set forth in Section 19. 7, nothing herein shall be deemed to
prohibit CC Entity or CC from engaging in other business activities ("CC Permitted Activities")
(a) related to the food and beverage industry (other than restaurant related activities), including but
not limited to participating in or contributing to cooking shows, demonstrations, appearances,
biogs, cookbooks, packaged foods and beverages - provided that neither CC Entity nor CC shall
use any Company IP (including Company Recipes, except as specified below for cookbooks) in
whole or in part, in connection with any of the foregoing without the prior written consent of
ESquared Hospitality (or its Permitted Transferee) in its sole discretion - and (b) unrelated to the
food and beverage industry so long as such other activities do not interfere with the performance of
obligations of CC Entity and CC hereunder or otherwise violate the provisions of this Agreement.
Notwithstanding the foregoing, CC Entity (and CC) may use the Company Recipes in new
publications or editions of cookbooks without prior consent while CC Entity is the Service
Member (for the avoidance of doubt, the foregoing shall not be construed as to prohibit the use of
or inclusion of Company Recipes in such cookbooks that were published while the CC Entity is the
Service Member after the CC Entity ceases to be the Service Member, if at all). For the avoidance


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of doubt, neither CC nor CC Entity is obligated to share any revenue with the Company or its other
Members from CC Permitted Activities.

        (b)     Service Member Expenses. The Company authorizes the Service Member to incur
reasonable and necessary out-of-pocket business expenses in the course of performing his/her/its
duties and rendering services hereunder in accordance with the Company's policies with respect
thereto, and the Company shall reimburse the Service Member for all such expenses, provided (i)
such expenses and the purpose for which they were incurred are in accordance with the Company's
policies, and (ii) the Service Member timely submits to the Company expense reports and
substantiation of the expenses in accordance with the Company's policies.

       Section 19.3   Separation from Service.

        (a)    Removal from Position. A Service Member may be removed from his/her/its
Position only for Cause or upon the occurrence of a Termination Event. A Service Member may
resign from his/her/its Position for Good Reason or for reasons other than Good Reason. The date
in which such termination occurs shall be known as the "Effective Termination Date".

        (b)     Effect of Termination Event or Removal of Service Member. Upon the Effective
Termination Date, the following shall apply with respect to the terminated Service Member
(herein referred to as a "Terminated Service Member"):

               (i)      the Terminated Service Member shall be treated as resigning as Manager
       and from his/her/its Position with the Company and its affiliates and if directed by
       ESquared Hospitality (or its Permitted Transferee) shall cause any and all of his/her/its
       designees or representatives to resign from any and all positions held with the Company
       and its affiliates on the Effective Termination Date;

              (ii)    the Terminated Service Member shall return all property to the Company as
                      provided in Section 8.1 (c);

              (iii)   subject to the recapture provisions of Section 19.5, the Terminated Service
                      Member (or his/her/its transferee(s)) shall remain a Member, if applicable,
                      but shall cease to be a Service Member for purposes of this Agreement; and

              (iv)    the Terminated Service Member shall no longer be eligible for further
                      reimbursement of business expenses, other than reimbursement based upon
                      timely submission of any claims for reimbursement of business expenses
                      incurred prior to the Effective Termination Date; except in connection with
                      duties performed at the request of the Managers after such date (such as CC
                      Promotional Activities).

        (c)   Surviving Rights. Except as specifically set forth in this Agreement or in the NFL
License Agreement, the Company's right to continue using (and granting others the right to use)
the CC Entity Pre-Existing IP and the NFL Rights in the operation of the Restaurants (including
New Restaurants) and Approved Projects (including new Approved Projects approved as set forth
in the NFL License Agreement) shall survive any termination of CC Entity as the Service Member

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and any Membership Interest Recapture or exercise of the Put Right or any other Transfer
(collectively, the "Surviving Rights"). In addition, in the event that the Terminated Service
Member is terminated for Cause, or if the Terminated Service Member resigns for reasons other
than Good Reason, then CC Entity (and CC) shall continue to provide the CC Promotional
Activities as reasonably requested by the Company including as reasonably required under third
party agreements where such CC Promotional Activities have been reasonably approved by CC
Entity or CC. If the Terminated Service Member was terminated by the Company without Cause
or if the Terminated Service Member resigns for Good Reason, then the CC Entity's obligations to
provide the CC Promotional Activities shall automatically terminate effective on the date of such
termination; provided, that if third party agreement (i) contains requirements that CC visit the
Restaurant a certain number of days per year (not to exceed 2) and (ii) CC or CC Entity is receiving
a Post Repurchase Royalty (as defined in the NFL License Agreement) on account of such
Restaurant and (iii) CC Entity or CC approved such agreement, the Company and CC Entity (and
CC) agree to work in good faith to find reasonably acceptable times for such visitation requirement
to be satisfied so that the agreement is not breached based on the failure thereof.

        Section 19.4 Acknowledgments and Waivers.

       (a)      The Service Member is aware that its ownership of Membership Interests is subject
to redemption under Section 19.5 ("Membership Interest Recapture") and is also aware that the
Company would not execute and deliver this Agreement and/or the Membership Interests if the
Membership Interests were not subject to Membership Interest Recapture by the Company under
such circumstances. The Service Member acknowledges that on the date the Membership
Interests were issued to such Service Member it is impossible to determine what the Fair Market
Value of the Membership Interests will be on the date that they may be subject to Membership
Interest Recapture. The Service Member also acknowledges that the damages that may accrue to
the Company as a result of the termination of the Service Member for Cause, or by the death or
disability of the Service Member, the parties have determined that it is in the best interests of the
Service Member and the Company, given those uncertainties, to endeavor to fix such damages at
this time by providing for the Membership Interest Recapture upon the circumstances set forth in
Section 19.5. Nevertheless, the Service Member hereby accepts the foregoing remedy of
Membership Interest Recapture as fair and reasonable and irrevocably and unconditionally waives
any claim that such remedy is unreasonable, or constitutes a penalty or forfeiture. The Service
Member further acknowledges and agrees that each such remedy is not subject to modification in
any respect by any court or other tribunal or by any judge or arbitrator.

         (b)     To induce the Company to issue Membership Interests, the Service Member
warrants and represents to the Company that (i) such Membership Interests are acquired for
investment purposes and not with a view to redistribution, (ii) that it has had an opportunity to
consult with its attorney, accountant or other professional adviser and to ask questions with respect
to this transaction, and (iii) it has consulted with its counsel, and its other advisors concerning the
possible adverse economic consequences to it of Membership Interest Recapture. The Service
Member confirms that after evaluating such advice, unconditionally and without reservation, it
approves the transaction described in this Agreement and confirms that the remedies of
Membership Interest Recapture are fair and reasonable in the context of this Agreement and in
view of the foregoing uncertainties.


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       Section 19.5   Option to Purchase Interest of a Terminated Service Member.

        (a)     For so long as ESquared (or its Permitted Transferee) owns more than twenty five
percent (25%) of the issued and outstanding Membership Interests or controls the vote of the
Company (including but not limited to the Deadlock Rule), then upon a termination of the Service
Member (i) by the Company for Cause before March 7, 2023, (ii) upon resignation of the Service
Member other than for Good Reason before March 7, 2023 or (iii) in connection with a
Termination Event, the Terminated Service Member (as defined in Section 19.3(b)) is deemed to
have offered to sell all of its Membership Interest to the Company (which shall include those
Membership Interests transferred by the Terminated Service Member to a Permitted Transferee (or
subsequent transfers thereof) pursuant to Section 18.2, if any). The Company shall then have an
option, but not an obligation, to purchase all and not less than all of the Membership Interests of
the Terminated Service Member within the time and according to the procedure in Section 19.6
hereof (the "Repurchase Right").

        (b)    If the Company elects to repurchase the Membership Interests of a Terminated
Service Member upon a termination by the Company for Cause or upon a termination by the
Service Member for any reason other than Good Reason, the purchase price that the Company will
pay for the Terminated Service Member's Membership Interests shall be calculated as follows:

               a. If the termination occurs prior to March 7, 2019, the purchase price shall be
                  equal to the positive value of such Member's Capital Account;

               b. If the termination occurs on or after March 7, 2019 but before March 7, 2020,
                  the purchase price shall be an amount equal to the greater of ( 1) the positive
                  value of such Member's Capital Account, and (2) 20% of the Fair Market Value
                  of the Membership Interests being repurchased, calculated in accordance with
                  paragraph (d) below;

               c. If the termination occurs on or after March 7, 2020 but before March 7, 2021,
                  the purchase price shall be an amount equal to the greater of ( 1) the positive
                  value of such Member's Capital Account, and (2) 40% of the Fair Market Value
                  of the Membership Interests being repurchased, calculated in accordance with
                  paragraph (d) below;

               d. If the termination occurs on or after March 7, 2021 but before March 7, 2022,
                  the purchase price shall be an amount equal to the greater of (1) the positive
                  value of such Member's Capital Account, and (2) 60% of the Fair Market Value
                  of the Membership Interests being repurchased, calculated in accordance with
                  paragraph (d) below; and

               e. If the termination occurs on or after March 7, 2022 but before March 7, 2023,
                  the purchase price shall be an amount equal to the greater of (1) the positive
                  value of such Member's Capital Account, and (2) 80% of the Fair Market Value
                  of the Membership Interests being repurchased, calculated in accordance with
                  paragraph (d) below; and


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               f.   If the termination occurs on or after March 7, 2023, the purchase price shall
                    equal 100% of the Fair Market Value of the Membership Interests being
                    repurchased, calculated in accordance with paragraph (d) below.

       If the Company elects to repurchase the Membership Interests of a Terminated Service
Member in connection with a Termination Event, the purchase price that the Company will pay for
the Terminated Service Member's Membership Interests shall be equal to the Fair Market Value of
the Membership Interests being repurchased, calculated in accordance with paragraph (d) below.

         (c)    If the Terminated Service Member was terminated (i) by the Company without
Cause or (ii) by the Terminated Service Member for Good Reason, then (A) Company shall not
have a Repurchase Right; and (B) the Service Member shall have the right (but not the obligation)
to put to the Company all (and not less than all) of such Service Member's Membership Interests
(the "Put Right") by providing notice to the Company of the exercise of such Put Right within
thirty (30) days after such termination, and the Company shall purchase all and not less than all of
such Membership Interests for a purchase price equal to the greater of (1) the positive value of
such Member's Capital Account, and (2) the Fair Market Value of the Membership Interests,
calculated in accordance with paragraph (d) below and documented and paid in accordance with
paragraphs (d) and (e) of Section 19.6 below.

        (d)      The Fair Market Value of a Terminated Service Member's Membership Interest
shall be (i) the entire Fair Market Value for the Company as determined by an independent
appraiser, multiplied by (ii) the Percentage Interest of such Terminated Service Member. The
independent appraiser shall be selected by the mutual agreement of the Company and the
Terminated Service Member. If the Company and Terminated Service Member cannot agree as to
an appraiser, then the Company shall select one independent appraiser, the Terminated Service
Member shall select one appraiser, and a third independent appraiser shall be selected by the first
two appraisers chosen. In the event that more than one appraiser is chosen, the Fair Market Value
of the Company shall be equal to the average of the two closest determinations made by the
appraisers. Each appraiser chosen shall make a determination of the Fair Market Value of the
Company within twenty (20) Business Days of the matter being submitted to it. If there is one
appraiser, the Company shall pay the fees and expenses of the appraiser. If there is more than one
appraiser, the Company and the Terminated Service Member shall pay the fees and expenses of the
appraiser he or it selects, and the Company and the Terminated Service Member shall split the fees
and expenses of the third appraiser. The cost of the appraisal(s) shall not be taken into account by
the appraiser(s) in determining the Fair Market Value of the Company.

        (e)     The provisions of this Section 19.5, including but not limited to the Repurchase
Right set forth herein, shall automatically terminate and be of no further force or effect upon the
occurrence of any of the following: (i) ESquared Hospitality or its Permitted Transferee ceases to
own more than 25% of the issued and outstanding Percentage Interests of the Company or ceases
to control the voting of the Company (including but not limited to the Deadlock Rule), (ii) there
occurs an ESquared Hospitality Liquidity Event; or (iii) if the Company has not terminated the
Service Member for Cause and the Service Member has not resigned for any reason other than
Good Reason prior to March 7, 2023; provided that the Repurchase Right in connection with a
Termination Event shall continue on and after March 7, 2023 (i.e., such right will terminate upon


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the occurrence of clauses (i) or (ii) above, but will not be terminated and will remain in full force
and effect regardless of whether clause (iii) is satisfied).

       Section 19.6    Procedures for Membership Interest Recapture.

          (a)     The time period for exercising the right to recapture Membership interests
  described in Section 19 .5 is triggered by providing notice to the Service Member the
  notification of the event set forth in Section 19 .5 hereof in circumstances where the Company
  has such option to purchase the Membership Interests that are the subject of such notice or
  notification (called the "Available Interest").

          (b)    The Company shall have an option to purchase the Available Interest within
  ninety (90) days after the Effective Termination Date.

          (c)     If the Company exercises its option to purchase the Available Interest, the
  Company shall deliver or mail to the Terminated Service Member, no later than five business
  days after the expiration of the period to exercise their option to purchase the Available Interest,
  a notice of intent to purchase that includes the following information:

               •   a description and the total amount of Membership Interest to be purchased by
                   the Company;

               •   the terms of the purchase according to this Article XIX;

               •   a copy of this Agreement; and

               •   if the interest to be purchased is represented by certificates, such as share
                   certificates, a request for the surrender of the share certificates to the Company.

          (d)    The sale shaJJ be considered final when the Company makes payments to the
  Terminated Service Member or, if payment is made over time, when all paperwork necessary to
  the sale has been executed by the Company and the Terminated Service Member.

          (e)     The purchase price shall be paid in cash in thirty six (36) equal monthly
  installments, the first of which shall be paid by the date that is five (5) days after the closing,
  together with interest on the unpaid principal balance, at a rate equal to the Applicable Federal
  Rate (for monthly compounding periods) in effect on the date of the triggering event. Interest
  shall accrue from the closing date and shall be paid together with each monthly installment of
  principal. Subject to compliance with Section 409A of the Code, to the extent applicable, the
  Company at any time may prepay the amount owing, in whole or in part, without premium or
  penalty, which such prepayment shall be applied first to accrued but unpaid interest and then to
  principal installments in their inverse order of maturity.

   Section 19.7        Restrictive Covenant/Non-Solicitation.

        (a)    Each Restricted Person hereby covenants and agrees that for so long as such
Restricted Person or any Permitted Transferee thereof is a Member (in the case of CC, for=so long
as she is Manager and/or CC Entity or a Permitted Transferee thereof is a Memberl (such period,
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the "Restricted Period"), such Restricted Person shall not, directly or indirectly, engage in any of
the following activities (except to the extent otherwise permitted in this Agreement):

               (i)     own, manage, operate, join, control, or participate in the ownership,
       management, operation or control of, or be connected with as a director, officer, executive,
       administrative employee, partner, lender, consultant, contractor or otherwise, or promote,
       endorse or sponsor, any business or division or line of business or organization located
       worldwide which (a) is a vegan restaurant or (b) provides a product or service which is, in
       whole or in part, substantially the same as a product or service offered by Company in
       connection with an Approved Project, other than as may be explicitly set forth herein.
       Nothing herein shall prohibit any Restricted Person from being a passive owner of an
       aggregate of not more than five (5%) percent of the outstanding stock of any class of
       securities of a corporation that owns or operates a casual vegan restaurant and which is
       publicly traded so long as such Restricted Person has no active participation in the business
       of such corporation or other entity; or

                (ii)   provide any right, license or permission to use any Company IP, ESquared
        Pre-Existing IP, CC Entity Pre-Existing IP, or the NFL Rights, in whole or in part, in
        connection with any of the foregoing prohibited activities, or otherwise engage in any
        practice the purpose of which is to evade the provisions of this restrictive covenant.

         Notwithstanding the foregoing, (a) with respect to ESquared Hospitality and its Permitted
Transferees, the restrictions set forth in clauses (i) and (ii) above shall only relate to "fast casual"
vegan restaurants and (b) with respect to CC, CC Entity and its Permitted Transferees, the
restrictions in clauses (i) and (ii) above shall not apply to a restaurant in which (X) ESquared
Hospitality and/or its Permitted Transferees has been given a right of first offer for such restaurant
and declined (and such Restricted Person engages in such restaurant under the terms of such right
of first offer) in which case CC, CC Entity and its Permitted Transferees may use the "By Chloe"
name (but not the By Chloe Mark) for such a restaurant pursuant to the terms of Section 4.4) and
(Y) such restaurant does not use any of the Company IP.

         (b)   Each Restricted Person covenants and agrees that during the Restricted Period and
the one (1) year period thereafter, it shall not, directly or indirectly, engage in any of the following
activities:

                (i)    hire, offer to hire, or solicit for employment on their own behalf or on behalf
        of any third party, any Member, employee or independent contractor of the Company or
        any Company Affiliate (other than an Affiliate of such Restricted Person), without the
        prior consent of the Company;

                (ii)    or for or on behalf of himself/herself/itself or any third party,

                       (A)    persuade or seek to persuade any customer or supplier of the
                Company to cease to do business with respect to any Restaurant or to reduce the
                amount of business with respect to any Restaurant which any customer or supplier
                has customarily done or contemplates doing with the Company whether or not the

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               relationship between the Company and such customer or supplier was originally
               established in whole or in part through the efforts of any Restricted Person; or

                       (B)     interfere in any adverse manner in the relationship of the Company
               or any Affiliate with any of its customers or suppliers whether or not the
               relationship between the Company or Affiliate and such suppliers was originally
               established in whole or in part through the efforts of any Restricted Person. For this
               purpose, "customer" and "supplier" shall include any person that is then a customer
               or supplier of the Company or is a former customer or supplier, as the case may be,
               or potential customer or supplier as the case may be, of the Company which the
               Company has solicited prior to or during the term of this Agreement, but shall not
               include a customer or supplier which is also a Restricted Person; or

                      (C)     engage in any practice the purpose of which is to evade the
               provisions of this non-solicitation.

       (c)     Each Restricted Person agrees to abide by any radius restriction contained in a
Restaurant lease or other operative document with a third party for the duration of such
agreements.

         (d)     The Restricted Persons intend that the covenants set forth in this Section 19. 7 shall
be construed as separate covenants one for each country and jurisdictional subdivision to which
the covenant applies. In the event a court of competent jurisdiction determines that the provisions
of this covenant not to compete are excessively broad as to duration, geographic scope or activity,
it is expressly agreed that this restrictive covenant shall be construed so that the remaining
provisions shall not be affected, but shall remain in full force and effect, and any such over broad
provisions shall be deemed, without further action on the part of any person, to be modified,
amended and/or limited, but only to the extent necessary to render the same valid and enforceable
in such jurisdiction.

         (e)     Because a breach of the provisions of this Section 19.7 could not be adequately
compensated for by money damages, the Company shall be entitled, in addition to any other right
or remedy available to it, to an injunction restraining such breach or a threatened breach and to
specific performance of any such provision of this Agreement, and in either case no bond or other
security shall be required in connection therewith, and each Restricted Person hereby consents to
such injunction and to the ordering of specific performance. Each Restricted Person also hereby
waives and agrees not to urge in any court proceeding any claim or defense that the Company has
an adequate remedy at law. Additionally, the Company shall have the right and remedy to require
the breaching Restricted Person to account for and pay over to the Company all compensation,
profits, monies, accruals, increments or other benefits (collectively, "Benefits") derived or
received by him or her as the result of any transactions constituting a breach of any such
provisions, and he or she hereby agrees to account for and pay over any such Benefits to the
Company. Each of the rights and remedies enumerated above shall be independent of the others
and shall be severally enforceable, and all of such rights and remedies shall be in addition to, and
not in lieu of, any other rights and remedies available to the Company under law or in equity. Each
Restricted Person is entitled to enforce remedies against another Restricted Person for breaches

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under this Agreement, including this Section 19.7 and Section 8.1.

        Section 19.8 Duties ofESquared Hospitality; Back Office Fee. ESquared Hospitality
shall, with CC Entity, develop the Concept and the Restaurant operating policies and procedures.
If and when the Company is ready to open its first Restaurant (or any subsequent restaurant)
ESquared Hospitality shall search for an appropriate site, seek capital for the project and manage
the build-out and opening process (until such time as the Company has the resources to handle
such tasks internally). ESquared Hospitality shall also provide back office and administrative
functions, including human resources, accounting and tax reporting (although to the extent third
parties are used for accounting and tax, they shall be paid out of the Company) and ESquared
Hospitality shall receive a fee equal to two percent (2%) of gross sales from each Restaurant
("Back Office Fee") for providing such services; provided, however, that the Managers will from
time to time evaluate whether to perform such functions in-house (and to the extent it does perform
such functions in-house, the Back Office Fee shall no longer be payable to ESquared Hospitality).
ESquared Hospitality shall devote such time as is reasonably necessary to fulfill its
responsibilities, but there shall be no minimum time requirement for ESquared Hospitality.
ESquared Hospitality shall not be considered a "Service Member" and its Membership Interests
are not subject to recapture.


                                       ARTICLE XX
                                   GENERAL PROVISIONS

    Section 20.1         Amendment. Except as specifically set forth herein, the terms and
provisions of this Agreement may be modified or amended at any time and from time to time with
the written consent of ESquared Hospitality and CC Entity (or their Permitted Transferees);
provided, however, that the Managers may amend this Agreement without the vote or written
consent of the Members to (a) reflect changes validly made in the membership of the Company
and the Capital Contributions of the Members and the Percentage Interests of the Members; (b)
make a change that is necessary or, in the opinion of the Managers, advisable to qualify the
Company as a limited liability company under the laws of any state or foreign jurisdiction, or to
ensure that the Company shall not be treated as an association taxable as a corporation for federal,
state or local income tax purposes; (c) make a change that is necessary or desirable to cure any
ambiguity, to correct or supplement any provision in this Agreement that would be inconsistent
with any other provisions in this Agreement, or to make a change to any other provision with
respect to matters or questions arising under this Agreement that shall not be inconsistent with the
provisions of this Agreement, in each case so long as such change does not increase the financial
obligations of the Members and does not otherwise adversely affect the Members in any material
respect; or (d) satisfy any requirements, conditions or guidelines contained in any opinion,
directive, order, statute, ruling or regulation of any federal, state, local or foreign governmental
entity, so long as such change is made in a manner that minimizes any adverse effect on the
Members.

   Section 20.2      Waiver of Dissolution Rights. The Members agree that irreparable damage
would occur if any Member should bring an action for judicial Dissolution of the Company.
Accordingly, each Member accepts the provisions under this Agreement as such Member's sole

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entitlement on Dissolution of the Company and waives and renounces such Member's right to seek
a court decree of dissolution or to seek the appointment by a court of a liquidator for the Company.
Each Member further waives and renounces any alternative rights that might otherwise be
provided by law upon the withdrawal or resignation of such Member and accepts the provisions
under this Agreement as such Member's sole entitlement upon the happening of such event.

    Section 20.3        Waiver of Partition Right. Each Member waives and renounces any right
that it may have prior to Dissolution and Liquidation to institute or maintain any action for
partition with respect to any property of the Company.

    Section 20.4        Waivers Generally. No course of performance or other conduct
subsequently pursued or acquiesced in, and no oral agreement or representation subsequently
made, by the Members, whether or not relied or acted upon, and no usage of trade, whether or not
relied or acted upon, shall amend this Agreement or impair or otherwise affect any Member's
obligations pursuant to this Agreement or any rights and remedies of a Member pursuant to this
Agreement. No delay in the exercise of any right shall operate as a waiver of such right. No single
or partial exercise of any right shall preclude its further exercise. A waiver of any right on any one
occasion shall not be construed as a bar to, or waiver of, any such right on any other occasion.

    Section 20.5        Equitable Relief. If any Member proposes a Transfer in violation of the
terms of this Agreement, the Company or any Member may apply to any court of competent
jurisdiction for an injunctive order prohibiting such proposed Transfer except upon compliance
with the terms of this Agreement, and the Company or any Member may institute and maintain any
action or proceeding against the Person proposing to make such Transfer to compel the specific
performance of this Agreement. Any attempted Transfer in violation of this Agreement is null and
void, and of no force and effect. The Person against whom such action or proceeding is brought
waives the claim or defense that an adequate remedy at law exists, and such Person shall not urge
in any such action or proceeding the claim or defense that such remedy at law exists.

    Section 20.6       Remedies for Breach. The rights and remedies of the Members set forth in
this Agreement are neither mutually exclusive nor exclusive of any right or remedy provided by
law, in equity or otherwise. The Members agree that all legal remedies (such as monetary
damages) as well as all equitable remedies (such as specific performance) shall be available for
any breach or threatened breach of any provision of this Agreement.

    Section 20.7       Costs. If the Company or any holder of Membership Interests retains
counsel for the purpose of enforcing or preventing the breach or any threatened breach of any
provision of this Agreement or for any other remedy relating to it, then the prevailing party shall be
entitled to be reimbursed by the non-prevailing party for all costs and expenses so incurred
(including reasonable attorneys' fees, costs of bonds, and fees and expenses for expert witnesses).

    Section 20.8        Counterparts. This Agreement may be signed in multiple counterparts,
including facsimile counterparts. Each counterpart shall be considered an original, but all of them
in the aggregate shall constitute one instrument.

    Section 20.9       Notice. Notices to the Company shall be sent to the principal executive

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office of the Company specified. All notices, demands, consents, approvals, requests and other
communications required or permitted hereby shall be in writing and shall be deemed to have been
duly and sufficiently given only if (a) personally delivered with proof of delivery thereof (any
notice or communication so delivered being deemed to have been received at the time so
delivered); (b) sent by Federal Express (or other similar overnight courier) (any notice or
communication so delivered being deemed to have been received only when delivered); (c) sent by
registered or certified mail, return receipt requested (any notice or communication so delivered
being deemed to have been received at the time so delivered) ; or (d) sent by email (any notice or
communication delivered via email being deemed to have been received if a copy is also delivered
by one of the other means of delivery and shall be deemed to have been received (i) on the
Business Day so sent, if so sent prior to 4:00 p.m. (based upon the recipient's time) of the Business
Day so sent, and (ii) on the Business Day following the day so sent, if so sent on a non-Business
Day or on or after 4:00 p.m. (based upon the recipient's time) of the Business Day so sent (unless
actually received by the addressee on the day so sent)), in any such case addressed to the Members'
respective addresses set forth on Exhibit A. Failure to accept delivery shall constitute receipt. Any
Member may require future notices to be sent to a different address by giving at least ten (10) days'
notice to the Company and other Members in accordance with this Section.

    Section 20.10     Date of Performance. Whenever this Agreement provides for any action to
be taken on a day which is not a Business Day, such action shall be taken on the next following
Business Day.

   Section 20.11       Limited Liability.

        (a)     The liability of each Member, the Managers, committee member, officer or agent
of the Company shall be limited as set forth in this Agreement, the Act and other applicable laws.
No Member, Managers, committee member, officer or agent of the Company is liable for any
debts, obligations or liabilities of the Company or each other, whether arising in tort, contract or
otherwise, solely by reason of being a Member, Manager, committee member, officer or agent of
the Company, or acting (or omitting to act) in such capacities or participating (as an employee,
consultant, contractor or otherwise) in the conduct of the business of the Company, except that a
Member shall remain personally liable for the payment of such holder's Capital Contribution and
as otherwise set forth in this Agreement, the Act and other applicable law.

        (b)     Notwithstanding the foregoing or anything else to the contrary in this Agreement,
the Managers shall perform their duties in accordance with the provisions of Section 7.7(a). The
Managers who so perform such duties shall not have any liability by reason of being or having
been a Manager. The Managers shall not be liable to the Company or any holder of Membership
Interests for any loss or damage sustained by the Company or any holder of Membership Interests,
unless a judgment or other final adjudication adverse to such Managers establishes that such
Managers' acts or omissions were in bad faith or involved intentional misconduct or a knowing
violation of law or that such Managers personally gained, in fact, a financial profit or other
advantage to which such Managers were not legally entitled or that, with respect to a Distribution
the subject of Section 13.5, such Managers' acts were not performed in accordance with the duties
of such Managers set forth in Section 7.7(a). WITHOUT LIMITING THE GENERALITY OF
THE PRECEDING SENTENCE, THE MANAGERS DO NOT IN ANY WAY GUARANTY

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THE RETURN OF ANY CAPITAL CONTRIBUTION TO A HOLDER OF MEMBERSHIP
INTERESTS OR A PROFIT FOR THE HOLDERS OF MEMBERSHIP INTERESTS FROM
THE OPERATIONS OF THE COMPANY.

    Section 20.12        Partial Invalidity. Wherever possible, each provision of this Agreement
shall be interpreted in such a manner as to be effective and valid under applicable law. However, if
for any reason any one or more of the provisions of this Agreement are held to be invalid, illegal or
unenforceable in any respect, such action shall not affect any other provision of this Agreement. In
such event this Agreement shall be construed as if such invalid, illegal or unenforceable provision
had never been contained in it.

    Section 20.13    Entire Agreement. This Agreement contains the entire agreement among
the Members with respect to the subject matter of this Agreement, and supersedes each course of
conduct previously pursued or acquiesced in, and each oral agreement and representation
previously made by the Members with respect thereto, whether or not relied or acted upon.

    Section 20.14     Binding Effect. Except as otherwise provided herein, this Agreement is
binding upon, and inures to the benefit of, the Members and their transferees, successors and
assigns.

    Sections 20.15     Further Assurances. Each Member agrees, without further consideration, to
sign and deliver such other documents of further assurance as may reasonably be necessary to
effectuate the provisions of this Agreement.

    Section 20.16    Headings. Article and Section titles have been inserted for convenience of
reference only. They are not intended to affect the meaning or interpretation of this Agreement.

    Section 20.17       Terms. Terms used with initial capital letters shall have the meanings
specified, applicable to both singular and plural forms, for all purposes of this Agreement. All
pronouns (and any variation) shall be deemed to refer to the masculine, feminine or neuter, as the
identity of the Person may require. The singular or plural includes the other, as the context
requires or permits. The word include (and any variation) is used in an illustrative sense rather
than in a limiting sense. The word day means a calendar day, unless otherwise specified.

    Section 20.18    Governing Law; Consent to Jurisdiction. This Agreement shall be
governed by, and construed in accordance with, the laws of the State ofNew York (without giving
effect to New York choice of law provisions). Any conflict or apparent conflict between this
Agreement and the Act shall be resolved in favor of this Agreement except as otherwise required
by the Act.

   Section 20.19       Arbitration.

               (a)     The parties shall in good faith attempt amicably to resolve any claim,
dispute, deadlock and other matters in question arising hereunder. All claims, disputes, deadlocks
and other matters in question between the parties arising out of, or relating to, this Agreement or
the breach hereof which have not been resolved through good faith negotiation between the parties

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(each, a "Dispute") shall be decided by arbitration in accordance with this Section 20.19 unless
otherwise mutually agreed to by the parties. The agreement by the parties to arbitrate pursuant to
this Section 20.19 shall be enforceable under prevailing law.

                (b)    Any Dispute subject to arbitration shall be promptly submitted to arbitration
as herein provided. The arbitration may be initiated by either party by giving notice to the others in
accordance with Section 20.19(c), below. The parties hereby agree that such arbitration
proceeding shall be prosecuted without delay and that such proceeding shall be concluded and
decision rendered thereon within sixty (60) days after the commencement thereof, it being
recognized and agreed that any delay will materially and adversely affect the financial and other
interests of the Company. Any arbitration under this Agreement shall take place in New York,
New York under the authority of, and in accordance with, the expedited rules of the American
Arbitration Association. The decision of the arbitrator shall be binding upon the parties. The
administrative costs and expenses of the arbitration proceedings, and the fees and expenses of any
arbitrator, including without limitation, any advances or deposits required by the American
Arbitration Association or any arbitrator, shall be divided equally between the parties, subject to
any re-allocation thereof contained in any arbitration award. All other legal fees, costs and
expenses incurred in connection with any dispute under this Agreement shall be paid as
determined/apportioned by the arbitrator.

                (c)     Written notice of demand (the "Demand Notice") to arbitrate by either
party shall be given to the other party and simultaneously filed with the American Arbitration
Association. The Demand Notice shall be given within a reasonable time after the Dispute in
question has arisen and in no event shall such Demand Notice be given after the date when
institution of legal or equitable proceedings based on such Dispute shall be barred by the
applicable statute of limitations.

               (d)     All claims related to or dependent upon each other and in existence at the
time any matter is brought to arbitration shall be presented to and heard by the arbitrators even
though the parties are not the same, unless a specific contract prohibits such consolidation.

                (e)     Notwithstanding the foregoing, in the event the Dispute involves a claim for
which immediate injunctive relief is being sought, a party shall have the right to bring an action for
such relief in a court of competent jurisdiction prior to commencing as arbitration action.

   Section 20.20      Representations and Warranties. Each Member represents, warrants and
covenants to each other Member and to the Company as of the date hereof that with respect to such
Member and all holders of equity interests in such Member:

        (a)     this Agreement has been duly executed and delivered by such Member and
constitutes the valid and legally binding agreement of such Member enforceable in accordance
with its terms against such Member except as enforceability hereof may be limited by bankruptcy,
insolvency, moratorium and other similar laws relating to creditors' rights generally and by
general equitable principles;

       (b)     the execution and delivery of this Agreement by such Member does not, and the

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performance of its duties and obligations hereunder shall not, result in a breach of any of the terms,
conditions or provisions of, or constitute a default under, or give rise to a right to terminate, cancel
or accelerate under, or the creation of a lien, pledge or other encumbrance pursuant to, any
indenture, mortgage, deed of trust, credit agreement, note or other evidence of indebtedness, or any
material lease or other agreement, or any material license, permit, franchise or certificate, to which
such Member is a party or by which it is bound or to which its properties are subject, or require any
authorization or approval under or pursuant to any of the foregoing, which has not been obtained,
or violate any statute, regulation, law, order, writ, injunction, judgment or decree to which such
Member or its property is subject;

        (c)      such Member is not in default (nor has any event occurred which with notice, lapse
of time, or both, would constitute a default) in the performance of any material obligation,
agreement or condition contained in any indenture, mortgage, deed of trust, credit agreement, note
or other evidence of indebtedness or any lease or other agreement, or any license, permit, franchise
or certificate, to which it is a party or by which it is bound or to which the properties of it are
subject, nor is it in violation of any statute, regulation, law, order, writ, injunction, judgment or
decree to which it or its property is subject, which default or violation would adversely affect such
Member's ability to carry out its obligations under this Agreement.

        (d)    there is no litigation or other proceeding pending or, to the knowledge of such
Member, threatened against such Member or any of its Affiliates or their property which, if
adversely determined, would materially adversely affect such Member's ability to carry out its
obligations under this Agreement;

       (e)      no consent, approval or authorization of, or filing, registration or qualification with,
any court or governmental authority on the part of such Member is required for the execution and
delivery of this Agreement by such Member and the performance of its obligations and duties
hereunder, which has not been obtained; and

        (f)     with respect to CC Entity, CC Entity represents that it is wholly owned by CC.

    Section 20.21     Separate Counsel. Each Member acknowledges that such member has
retained separate counsel with whom to discuss the terms and provisions of the Agreement and
their effect on such Member before execution of this Agreement.


                                      [Signature Page Follows]




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        IN WI1NESS WHEREOF, ~e undersigned have executed this Operating Agreement as of
the date first above written.

ESQUARED HOSPITALITY LLC




CHEF Clll,OE, LLC

By: _ _ _ _ __ __ __
Name: Chloe Coscarelli
Title:




Chloe Coscarelli


Acknowledged and Agreed as
to the Rights and Obligations
Set Forth Herein


Chloe Coscarelli




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       IN WITNESS WHEREOF, the undersigned have executed this Operating Agreement as of
the date first above written.

ESQUARED HOSPITALITY LLC

By: _ _ _ _ _ _ _ _ __
Name: James Haber
Title: Manager

 CHUCHLOE,~
 By:~~
 Name: Chloe Coscarelli
 Title:


 MANAGERS




  Acknowledged and Agreed as
  to the Rights and Obligations


  ?lC,H<mn
        ~'
  Chloe Coscarelli




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                                          EXHIBIT A


                       Capital Contributions and Percentage Interests



Name and Address of Member                 Capital           Percentage
                                           Contribution      Interest
                                              $42,451.51           50%
ESquared Hospitality LLC
950 Third A venue, Suite 2200
New York, NY I 0022
Attention: James Haber
Tel: 2 12-688-2700
Fax: 212-688-7908
Email: jhaber@esquaredhospital ity .com


Chef Chloe, LLC                                   $0               50%
4712 Admiralty Way
Marina Del Rey, CA 90292
Fax: 310-458-6102
Email: chloe@chefchloe.com

With a copy (which shall not constitute
notice) to:

Morrison Cohen LLP
909 Third Avenue
New York, NY I 0022
Attention: Joshua Saviano, Esq.
Fax: (917) 522-3174
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                             EXHIBITB-1

                ESQUARED LICENSED PRE-EXISTING IP



None
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                             EXIDBIT B-2

               CHEF C&OE LICENSED PRE-EXISTING IP




None
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                       EXHIBITC

              NFL LICENSE AGREEMENT

                      (See Attached.]
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                       EXIDBITD
           PERSONAL SERVICES AGREEMENT
                      [See Attached.]
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                              EXIDBITE

                 UNMODIFIED CC EXISTING RECIPES

                                                        As ofNovember 7, 2014




None
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                       EXHIBIT B
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                         NAME, FACE AND LIKENESS AGREEMENT

        This Name, Face and Likeness Agreement (this "Agreement") is made and entered into as of
November 7, 2014 by and among Chloe Coscarelli {"Licensor"), and CCSW LLC, a New York
limited liability company ("Licensee").

        WHEREAS, Licensor is a Manager and, indirectly, a Member of Licensee, pursuant to that
certain operating agreement, dated of November 7, 2014, of Licensee (as amended and/or restated
from time to time, the "Operating Agreement");

        WHEREAS, Licensee is engaged in the ownership and/or management and/or licensing
and/or franchising of one or more Restaurants and Approved Projects; and

       WHEREAS, Licensor owns or controls all right, title and interest in and to (i) Chloe's full
and formal name, nickname or variations of her name ("Name"), and (ii) versions of her image,
signature, voice, likeness and other elements or attributes of her persona, identity, or personality
("Rights of Publicity" and collectively with the Name, the "NFL Rights"); and

        WHEREAS, Licensee desires to utilize, and Licensor would like to license to Licensee the
right to use, the NFL Rights in connection with the operation and publicity of the Restaurants and/or
Approved Projects.

        NOW, THEREFORE, in consideration of the recitals above and the mutual promises set
forth below, the parties hereto agree as follows:

        1. License.

               a        Licensor hereby grants to Licensee the right to use (including the right to
authorize others to use) the Name and pre-approved Rights of Publicity throughout the world (the
"Territory") by any means, methods and technologies now known or hereafter to become known,
(i) on an exclusive basis solely in connection with the operation, marketing and promotion of the
Restaurants, and (ii) on an exclusive basis solely in connection with the manufacturing, distribution,
advertising and promotion of products and services bearing the Company IP and associated with the
Approved Projects.

                 b.      Notwithstanding anything contained in this Agreement or the Operating
Agreement to the contrary except in connection with the By Chloe Mark, and for the avoidance of
doubt, (i) any rights not specifically granted to Licensee hereunder or under the Operating Agreement
shall remain the sole and absolute right and ownership of Licensor, and (ii) Licensor shall retain the
right to use the NFL Rights in any way whatsoever except in connection with the By Chloe Mark,
including but not limited to in connection with cooking shows, demonstrations, appearances, biogs,
and cookbooks and packaged foods and beverages, except as set forth pursuant to the terms of the
Operating Agreement (the rights in (i) and (ii), collectively, the "Retained Rights"). All rights in
and to the By Chloe Mark are reserved by the Company as stated in the Operating Agreement.

                c.       Each sublicense by the Licensee of the NFL Rights (including agreements
with third parties) shall contain protections with respect to the NFL Rights consistent with the terms
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hereof and shall acknowledge that any applicable sublicensee does not obtain any ownership rights
in, or goodwill to, the NFL Rights.

        2. Term of License. The term of this Agreement will be perpetual commencing as of the
date hereof (the "Tenn"), unless otherwise terminated pursuant to Paragraph 7 below.

       3. Use of NFL Rights. Licensee will not use the NFL Rights or take other action in
connection with the NFL Rights or any services associated with the NFL Rights that: (i) contravenes
any applicable law or regulation; (ii) impairs the value, goodwill, validity or enforceability of the
NFL Rights; (iii) impairs the quality of goods or services with which the NFL Rights are used by
Licensor; or (iv) disparages or holds up to criticism or ridicule Chloe Coscarelli or her interests in the
NFL Rights.

        4. Representations and Warranties

                 a Licensor hereby represents , warrants and covenants to Licensee that she has the
full right and power to grant to Licensee the rights set forth herein, to enter into this Agreement and to
carry out her obligations under this Agreement, that the execution and delivery of this Agreement, and
the satisfaction of her obligations herein, does not and shall not conflict with any other agreement to
which she is a party, and that she has not previously granted and will not grant any rights in the NFL
Rights to any third party that limit her ability to grant the rights granted to Licensee under this
Agreement.

                b.       Licensee hereby represents, warrants and covenants to Licensor that (i) the
execution and delivery of this Agreement by Licensee, and the satisfaction ofits obligations herein shall
not conflict with any other agreement to which Licensee is a party; and (ii) it has the full and exclusive
right and authority to enter into this Agreement and to satisfy its obligations hereunder.

        5. Intentionally Omitted.

         6. Quality Control licensee covenants 1hat 1he quality of all Restaurants and any and all products
and services offered pursuant to an Approved Projects by Licensee or any of its sublicensees using the
NFL Rights ("Products and Services") will meet or exceed the quality of similar products and services
offered by Licensor as of the date hereof. In particular, the quality of all Restaurants shall be at least
comparable with other ''fast casual" restaurants in New York City. Licensor and her authorized
representatives will have the right to test and inspect the Products and Services at any reasonable time
with reasonable prior notice. No modified or derivative version of the NFL Rights may be used at any
time for any purpose without the express written consent of Licensor in each instance; provided that
once such modified or derivative version is approved, Licensee may continue to use in a substantially
similar manner without seeking further approval. If Licensor reasonably determines that any aspect of
the Products and Services, or Licensee's use of the NFL Rights in connection with the advertising or
sale of the Products and Services, does not comply with Licensor's quality standards, then Licensor will
notify Licensee in writing specifying such deficiencies and providing reasonable requirements that,
when satisfied, would be deemed to cure such deficiency (such requirements, the "Cure Actions"), and
Licensor and Licensee shall work to correct such deficiencies in a reasonable time frame. The parties
shall work in good faith to resolve any dispute for a period of sixty (60) days; provided, however, that if
the parties cannot resolve such dispute in good faith within such 60 day period, then either party may
institute an arbi1ration action as provided in Section 20.19 of the Operating Agreement in order to
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resolve the dispute.

        7. Royalty. Except as otherwise provided in Section 10, Licensee shall not have any
obligation to pay any royalty payments or other monies, fees, commissions or charges of any type
or nature to Licensor in connection with the license granted hereunder. Licensor expressly
acknowledges and agrees that the membership interest in Licensee and the rights granted Licensee
in the Operating Agreement constitute full and adequate consideration for the grant of the license
hereunder.

        8. Termination.

                a        Licensor may terminate this Agreement upon written notice effective
immediately, if:

                        i.      Licensee commences any case, proceeding or other action under any
existing or future law of any jurisdiction, domestic or foreign, relating to bankruptcy, insolvency,
reorganization or relief of debtors, seeking to have an order for relief entered with respect to it, or
seeking to adjudicate it a bankrupt or insolvent, or seeking reorganization, arrangement, adjustment,
winding-up, liquidation, dissolution, composition or other relief with respect to it or its debts, or
seeking appointment of a receiver, trustee, custodian or other similar official for it or for all or any
substantial part of its assets, or Licensee will make a general assignment for the benefit of its
creditors; or there will be commenced against Licensee any case, proceeding or other action of a
nature referred to above which results in the entry of an order for relief of any such adjudication or
appointment or remains undismissed, undischarged or unbonded for a period of thirty (30) days; or
there will be commenced against Licensee any case, proceeding or other action seeking issuance of a
warrant of attachment, execution, restraint or similar process against all or any substantial part of its
assets which results in the entry of an order for any such relief which will not have been vacated,
discharged, stayed or bonded pending appeal with thirty (30) days from the entry thereof; or Licensee
will take any action in furtherance of, or acquiescence in, any of the acts set forth in this Section; or
Licensee will generally not, or will be unable to, or will admit in writing its inability to, pay its debts as
they become due;

                         ii.    Licensee attempts to assign, sublicense or transfer to any person any
right, interest or obligation under this Agreement, except as permitted herein, unless such action is
cured within thirty (30) days notice thereof;

                         iii.    Licensee suffers an event of dissolution, in accordance with the
Operating Agreement;

                         iv.     the first Restaurant fails to open on or before March 7, 2016 (the "First
Opening Date");

                      v.     after the First Opening Date, there are no operating Restaurants for
any twelve (12) consecutive months; or

                         vi.    Licensee opposes, petitions to cancel, commences a legal action, or
otherwise challenges, objects to or interferes with Licensor's ownership, use (or authorized the use by
others) or registration of any of the NFL Rights, except that Licensee may take any action permitted
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under the Operating Agreement;

               b.       Licensee may terminate this Agreement at any time upon sixty (60) days'
prior written notice to Licensor.

         9. Effect of Termination. Termination of this Agreement by Licensor will be without
prejudice to any other remedy othetwise available to the parties to this Agreement. Upon termination
of this Agreement for any reason, Licensee will within two (2) months of the date of such termination,
discontinue all use of the NFL Rights, subject to a six-month sell-off period for the Licensee with
respect to its then-current inventory of any products that are Approved Projects. Sections 9, 10, 11,
12, 17, 18 and 19 shall survive termination of this Agreement.

      10. Use Limitation Following Exercise of Repurchase Option or Put Right Under the
Operating Agreement.

               a.      In the event the Repurchase Right or Put Right is exercised, to the extent
Licensee continues to use and permit others to use the NFL Rights as set forth herein in
Restaurants and other Approved Projects, Licensee shall pay to (or cause to be paid to) Licensor as
a royalty 1% of the gross sales from such operations (the "Post Repurchase Royalty"). The Post
Repurchase Royalty shall be paid within thirty (30) days after the final day of each calendar month,
in arrears for the immediately preceding calendar month, along with a report showing in
reasonable detail the calculation for such month's Post Repurchase Royalty. In the event that a
third party Restaurant pays amounts less frequently than monthly, such payments (and reporting)
shall be due within fifteen ( 15) days of receipt thereof by Licensee. Licensee agrees to use
commercially reasonable efforts to collect such payments.

                 b.     In the event Licensee continues to use the NFL Rights pursuant to Section
lO(a) above, then Licensee will maintain books and records that accurately reflect the basis and
calculation for payments required under this Section 10, and maintain for a period of two (2) years
following the end of the applicable calendar year, all books and records, including computerized
data, necessary for Licensor and/or its representatives to audit the calculation of payments made or
required to have been made under this agreement. Licensor may, at anytime during the Term and
for a period of two (2) years thereafter, on Licensee's premises during normal business hours upon
reasonable prior written notice, audit the records and/or other Licensee accounting documents
directly relating to the Post Repurchase Royalty, such audit shall be performed at the cost and
expense of Licensor. In the event that the audit reveals an underpayment by Licensee, Licensee
agrees to immediately pay Licensor the amount of such underpayment, and if such underpayment
exceeds five percent (5%) of the applicable amount, then Licensee will additionally pay Licensor
her reasonable auditor's costs and fees; provided that no such fee shall be payable if the auditor is
to receive any success fees or similar in connection with such audit.

                c.      In the event that the Service Member is terminated without Cause or resigns
for Good Reason under the Operating Agreement, Licensee may continue to use and permit others
to use the NFL Rights as set forth herein (including entering into renewals of existing agreements),
but shall not be permitted to use or grant others the right use the NFL Rights for any new
restaurants or projects (i.e., a restaurant or project that did not have an agreement signed at the time
of such termination) without the consent of Licensor.

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        11. Equitable Relief and Monetary Damages. Licensee acknowledges that a breach of this
Agreement by Licensee would cause immediate and irreparable harm to Licensor for which money
damages could not adequately compensate Licensor. Therefore, Licensor will have the right to
enforce this Agreement, not only for damages, but also by action for specific performance, injunctive
or other equitable relief, without proof of actual damages and without the posting of bond or other
security.

        12. Notices. All notices, requests, demands and other communications hereunder will be
in writing and will be personally delivered, sent by overnight carrier (such as Express Mail,
Federal Express, etc.) or sent by facsimile transmission with confirming copy sent by overnight
carrier and a delivery receipt obtained and addressed to the intended recipient as follows (and will
be deemed given upon receipt of evidence of delivery or failure of the recipient to accept delivery):

               If to Licensee:

               CCSWLLC
               c/o ESquared Hospitality LLC
               950 Third Avenue, Suite 2300
               New York, New York 10022
               Tel: 212-688-2700
               Fax: 212-688-7908
               Email: jhaber@esquaredhospitality.com

               If to Licensor:

               Chloe Coscarelli
               4712 Admiralty Way
               Marina Del Rey, CA 90292
               Fax:310-458-6102
               Email: chloe@chefchloe.com


       or to such other address as may be furnished to the other in writing.

         13. Assignments. This Agreement and all of the provisions hereof will be binding upon and
inure to the benefit of the parties hereto and their respective successors and permitted assigns,
including, with respect to any individual, such individual's estate, beneficiaries, trustees, or legal
guardian. This Agreement is assignable by Licensee to any (i) Third Party (as defined below)
successor of Licensee or (ii) third party successor in which Licensor or CC Entity is a member that
acquires all or substantially all of the assets or businesses of Licensee, whether by sale, merger,
recapitalization or other business combination, without Licensor's consent, provided that any
successor or assignee shall provide Licensor with a written agreement that it shall be bound by all the
terms of this Agreement. Except as specified in this Section 13, this Agreement is not assignable.
Any assignment made in contravention of this Section 13 shall be null and of no effect. For purposes
of this Section 13, the term "Third Party" means any party or entity that does not include, directly or
indirectly, Licensee or any of its affiliates as equity holders or debt holders.


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        14. No Waiver. No failure by either party to take action on account of any default by the
other, whether in a single instance or repeatedly, will constitute a waiver of any such default or the
performance required of such party. No express waiver of a default by any party will be construed as a
waiver of any other default or future performance required hereunder.

       15. Headings. The headings contained in this Agreement are inserted for convenience only
and do not constitute a part of this Agreement.

       16. Invalidity. If any provision of this Agreement is held invalid or unenforceable, the
remainder of this Agreement will nevertheless remain in full force and effect.

         17. Entire Agreement. This Agreement (including the instruments between the parties
referred to herein and in the Operating Agreement) and the Personal Services Agreement constitute
the complete, final and exclusive statement of the entire agreement among the parties and supersedes
all other prior agreements and understandings, both written and oral, with respect to the subject matter
hereof. This Agreement may not be amended or supplemented in any manner except by a written
agreement executed by an authorized representative of the party sought to be bound. All references to
paragraphs, sections, subsections, clauses and schedules will be deemed to refer to such part of this
Agreement, unless the context requires otherwise.

       18. Governing Law. This Agreement and the legal relations between the parties hereto will
be governed by and construed in accordance with the internal laws of the State of New York and
without regard to conflicts of laws principles.

        19. Jurisdiction. The state and federal courts of the State ofNew York located in the County
of New York will have exclusive jurisdiction and venue to hear and decide all controversies that may
arise under or concerning this Agreement.

       20. Counterparts. This Agreement may be executed in any number of counterparts,
including facsimile or pdf counterparts, each of which will be deemed to be an original but all of
which together will constitute but one agreement.

      21. Definitions. All capitalized terms used and not defined herein shall have the respective
meanings given such terms in the Operating Agreement.

                                       [Signature page follows.]




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       IN WITNESS WHEREOF, the authoriz.ed representatives of the parties hereto have
duly executed this Agreement as of the first date above.


            ''LICENSEE''



            BY: - ' ~ - ~ - - - -
            Name:
            Title:


            "LICENSOR''

            CHLOE COSCARELLI


            Chloe Coscarelli
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       IN WITNESS WHEREOF, the authorized representatives of the parties hereto have
duly executed this Agreement as of the first date above.


            "LICENSEE"

            CCSWLLC
             BY: _ _ _ _ _ __
             Name: Samantha Wasser
             Title: Manager


             "LICENSOR"

             CHWE COSfAREL'1:
                &Jnv ~ l
             Chloe Coscarelli
